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»...~._ v....._. »...~.. \_.-=~- ,~4.,» '~`,.-.~.

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12116/20¢6 9;24;50 n

CLAUDE BOW¥V|.¢ '

_Josephlna Gom

STATE OF NEW MEXICO
COUN'I`Y OF DONA ANA
THIRD JUDICIAL DISTRICT C()URT

DONNY HERNANDEZ
Plaintiff

0~307»<3\/-2016-02766
v.

 

ALLSTATE INSURANCE COMPANY Arrieta, Manue| l.

~I'*-I»!-)(-{~R~*'K'

Dcfendapt
I’LAINT!FF’S ORIGINAL CGMPLAINT
l. Plaintiff owns real estate in Dona Ana Co\mty, New Mexicc, and that real estate is the
subject of this lawsuit
2. Defendant may be served with cutnmons byt 5chng an officer of the Residual-
Markets Unit, 3075 Sanden: Road, Suite HZD, Northbrook, lL 60062-3075.

d 3. PlaintiH’ purchased from Defendant a landlord’s package insuance policy to cover the
home that he owns at 8 Cielo del Rcy, Anthony, New Mexlcc. Coverage Was effective from '
Apri| I{), 2014 to April 10, 2015.

4. Tl1e policy included an endorsement, “Lanrcllcrd’s Package Policp-Vandalism
Ccverage-ASl 34". The policy and endorsement are attached hereto as Exhibit A.

5. At the time that the policy was purchased, Plaintiff bad tenants in the property end
purchased the Landlord’s Package based on the advise'cfthe agent for the l)cfendant.

6. 'l`hc tenants vacated the property and on or about flannery ], 2015, Plalntiil` discovered
that the tenants had vanda]ized the home by tearing up carpct, knocking holes in the walls,

damaging appliances and many other acts ofvandalism.

EXH|B!`_I' A

 

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s

7i Plaintill` submitted a claim to his insurance agent who forwarded the claim to
Dci`endant’s claim’s ofiice as a vandalism ciaim. On or about February 24, 2015, Dci`endant
denied the claim as reflected on the attached Exbibit B.

S, Thc Plaintift`resubmitted the claim which was denied on November 21, 2016.

9. Thcre is no basis for the claim to be denied because the policy endorsement
mentioned above viciates all of the policy provisions upon which each denial letter is based
Even alter the second denial and the adjuster was advised of the policy coverages and the denial
was reafiinned.

10. Plaintift` would show that the Defendant has violated the Ncw Mexico insurance

 

Code, §59A~16-20 because of its unfair claims’ practices in the following respects:

“A. misrepresenting to insureds pertinent facts or policy provisions relating to
coverage at issue;

D. failing to all“mn or deny coverage of claims of insured within a reasonable
time after proof ot` loss requirements under the policy have been completed and
submitted by the insured;

E. not attempting in good faith to effecutate prompt, fair and equitable
settlements of an insured’s claims in which liability has become reasonably clear;

G. compelling insured to institute litigation to recover amounts due under policy
by offering substantially less than the amounts ultimately recovered in actions
brought by such insured when such insureds have made claims for amount l
reasonably similar to amounts ultimately recovered; -'

N. failing to promptly provide an insured a reasonable explanation of the basis . l f
relied on in the policy in relation to the facts or applicable law for denial of a

claim or for the offer cfa compromise settlement; or ,..”.

The foregoing are the unfair claims practices committed by Defendant.

l I. Plaintii`f Would show that not only is Plaintiff entitled to recover all of the damages

he sustained by the tenants’ vandalism in an amount of at least $45,000.00. He is also entitled to

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recover attorney fees pursuant to 39-2-1 because Dcfcndant has acted unreasonably in failing to
pay the claim. Such attorney fees would be not less than 350,000.00.

WHBREFORE, Plaintift` prays that Defendant be cited to appear and answer herein and
that upon final hearing hereof Plaintifi` have and recover from the Det`endan.t all damages that
should have been paid by Defendaot in the claim in the amount of $45,00(}; attorney fees and

such other and further relief to which the I‘laintift` may show himself justly entitled

 

Res tt`ully submitted1
MMPl“/~

conner A. slope/cara

Attorney for Plaintit`l`

NM Bar No. 14760

310 N. Mesa, Suite 600

El Paso, TX 79901 '
915/533-0096 Fax 915/544~5348

rskipwozth@robe_rt§kigworth.@p_i

 

 

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Exhibit A _

 

 

 

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Po|lcy Deetara:ions.

. v/ Please catt it you have any questions

if l‘tlot\r you cast pay your premium
bclore your hill is |ssued - visit
alisiate,cem or call t-BOtt-A|tstaln @;

      
   
        
 

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Donny Hernandez

11205 Bcsb Mitc:l:rell DJ:
El PaSO TX 79935-4624

 

Dear Customer;

Thank you for being an A!lst.ate. lndemnity Compurny eustomer. We’re glad to have you
with tls.

Yorlr Proporty Premium

We're writing to iet you know that we sent you an Importnnt `Notiee certified "Dwei[ing
Profile" shut included incorrect information regarding your insured property As n result,
your overall premium was lower than it should have been for the current peried.

We Have Corrected 'I`his lssue

]’iease accept our apologies. ’I`o correct thisr we have adjusted your premium based on the
corrected information and enclose an Amended Po]icy Declnrations that rei?e<:ts this
change Also, we wil! send you anew "Dweliing Prot`!le" with your property's correct
information at the next renewal ofyonr pofiey.

Because this was our error, you will not be required to pay any nddi:ional premium during
the current period as a resu§t. Howevor_, we Wili charge you tile correct premium amount for
any future renewal effer. .

Have Questions? P}ease Cc)niaet Us
if you have any questions regarding the information in this letter or your insurance coverage
in general, please feel free to contact your Allsrate Indernnity Company representative

Thank you again for choosing Alisfalc Indemnily Compimy. We appreciate your business
Sincereiy, , 7 . _
Customer Serviee Department - - `

PHGP ‘Dtt]ilO.?Dld€)EEMmiBB£l-|Ot' 6000€|(!986352458 072 050 £lM

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Cl`aim# 0556743260

To Whom it May Concern:

i, Parn'cta ‘l`on‘es . ., 7 , , employee of Atlstato tn'ettran`oo Cotnpany irving, Toxae,
do certify that-the onotoeed is a copy of penny and or deotoretton page for the above
claim numbor,fshowlng the eovo'ragoe that Woro on the potioy'at the time of lose

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foregoing instrumentend acknowledged that ho{ehe executed the some as a free not

and ctoe_d_._

         

   
  

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Allslate lndemnlly Company `
AMENDED
Land|drds Package
Po|icy Declaralidns

 

 

 

Summary

NAP¢‘|ED |NSHHED(S) Y(]UR ALLSTATE AGEN¥ lS: BDNFAGT YGUH AGENT AT;
florm Hernaqdez Yolanda ill §slrada (915) 855~7?66

1¥20 B<lb ,lech€ll _ 11345 Munrwrmd rla

El Paso lX 19936»4524 El paso n 79935

PUL!C‘{ NUMBEH PBLI£Y FER|OD PHEMEUM PER!OD

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with nd fide dam cl expiration

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MGR`{GAGEE[S) (l_r'sted in order dl precedenca)

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0 CITJMORTGAGE |NC lTS SUCCESSORS 7
&IOH ASS!GNS
P 0 Bo)c Y?OB Sprlrl{}fie|d DH 45501~7706 ' rican 1599770314935

 

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TOTP.L $1.020.04

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the federal Program established by lhe rlerrorlsm Risl< lnsurance Act'. as amended applies is $£J,DO. SEE IHE ENCLUSED
"PDLICYHBI.DER DlSCLUSURE NGTICE UF TERHORJSM |NSUHANG£ CUVERAGE“ - AP3337-2.

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Al|state |ndemniiy Company

 

Pullcy Numl)er; § 86 352¢§8 Bdfii'l row Agent: ¥n|anda ill Eslrarla i915) 855-??5§

Fcrr Premium Parlod Beglnnlng: Apr. 10, 2814

PBL|CY CBVERAGES AND L|MlTS UF LlAB|LET\’

CO\!ERAGE AND APPL£CABLE DEDUETlBI.ES
(See PoHcy for Appllcab|e Terms# Corrdillnns and Exciirslons]

L!MTTS OF L|AB!L|¥Y

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Dwe|ling Pru!ectlan $350,@06
» $500 A|| Perll Deducilble Applies

Giher Stmr:tures Protecllon $38.000
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i_iabllity Prolecllnn $500.{)00 each dccurr§nce
Premises Medlcal Pmleciion $5,000 each person
Flre Deparimenl Charges $SGU
Loss Aseessmenls $SU,GO{J each occurrence

* $500 A|l Perll Deduclible implies
BlSC{)UNTS Y¢>rrr premium rellects the following discounis on applicable coverage(s}:
Pmleciive Devlce 5 %
HATINB |NFORMATION
i'he dwelling is of Frame corrslrraction and is occup£ed by 1 family

lubnmlinn¢sor Paga 2

A‘Al' 231 26|4 HMS'-'?AH§

 

 

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Atlstaie indemnity Cumpany

Po§icy l\iumr)er: 9 85 3521158 04!11] Your Agenl: Yo|anda M Eslrada (915} 855~77&8
For Premium Purioi:l Beginrling: Apr. 1tl, 2014

 

Your.l’:alicy.£las_umerrfs

You_r t_and_|ords Paci<age policy consists ofthis Pulicy Dsclara?lorrs and the documents listed irelow. Piease keep these
iogether.

Landlords Package Pulir>y form A584 ‘ liew Me>cico i.PP mandatory find form ASL>¢iO
-Notr`ce di Terrorism insurance Cov. lurm APSBSY 2 -lPP... 'lfam:ia|ls_m coverage En_d iorm ASl$_¢i
-Staodard fire Poi|cy Prov|slons form AUE??‘ 2 Amendatory Endr>rsemerrt lorin APdBlB

Impurlanl F'ayment and 60 verago lnfarmation
Tha Prope:ty insurance Adlustrnnrri condition applied
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li\l Wll'lliE-SS WH£REDF Ailstale indemnity Company nas caused fills policy fo be signed by two or its
oliicers al Nonhl)rooir lilinuis and it required by siale iaw, this policy udall not be binding unless
countersigned on the Poiicy Der;larntioris try an authorized agent ot Allstate indemnity l$ompariy

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Ailsfale indemnity Compaoy

f‘oticv Numbcr: 983 35246l3ild.ifll ¥our Agent: Yoleoda b'l F_sfrada limit 365»7?86
rcr Pmmium Perioct Beglnriir\g: Apr. 1fl, 2014

 

 

Policy Endcrsement

The following endorsement changes your oollr:y. Please read lois document carefully and keep ft frth your
policy

 

Policyholder l)isc insure l . f
Notise of Terrorism insurance Covsrago ~oa;or-z

lite federal ierrorisrri illsl< insurance Aci. as amended {lhe federal neill establishes a temporary federal
Pro_oram hhs federal Prograrc) providing lor a system of shared public and private compensation for certain
insured commercial property and casualty losses resulting from “ acts ot fsrrorisrn,“ as defined in the federal Act.

The ioderai Act defioss an " act of ierrorisro" as an eci that is certified by the Secretery of the Trsasury, in
concurrence with the Secreiarv cl State, and the Aiiorney Gerieral ot the Ucilcd Stale s, to be an oct of terrorism;
to bd a violent aci or an act that is dangerous to human tifo, property or inlrastroclore; to have resulted rn
carriage within the limited Stetss, or outside of the Unlted Stales ira the case of certain air carriers or vessels or
the promises ot a Unitod Siutes rnission; eddie have been committed by an individual cr individuals as part or an
effort to coerce the civilian population cf the Unitcd Siates or to influence life policy prudent the conduct ol the
drilled States Governrnonf t)v coercion

Your insurance coverage includes coverage for losses caused by “ acts of terrorism" to which the federal
Prograrn applies `fhis coverage is subject to all other terms. conditionss limitations and exclusions of your policy

Biscicsure ot Feitoral Share of Bompensstlon for lnsured losses '

insured losses caused by ‘aots cl torrorisrn" to which the federal Program applies would so partially reimbursed
bythe Unitsd States Govercrnsnt under a formula established bytlie federal Acl. finder that fcrmu|a, fits limited

States dovemrnoct says 85 percent of covered terrorism losses exceeding the statutorily established deductible
paid by the insurance company providing fits coveragev

¥ou should also Know that fire federal Act contains a $tllll billion cap that limits linile Stales Governmeol
reimbursement as well as insurersl liability for losses resulting from “acts of terrorism° to which tire federal
Program applies when ihs amount rif such losses ic any one calendar year exceeds $100 billion ii tire aggregate
insured losses for ali insurers exceeds $100 billion your coverage may tie reduced to the extent psrmltled byrne
federal Act or any regulations promulgated ihersunder.

Blssiosure ul Premium
Ths portion of your annual premium trial is attributable fo coverage lot losses caused by “ecls ot lerrorisrn" lo
which tire federal Progrem applies is $0.0G.

FRDP '010003014052(15300‘|530404' ' '

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rPolicy Endorsement

fire following endorsement changes your poiicv. Piease read this document carefully and keep ii with your
poilcy.

Arnendaiory Eri dorsament~ersia

ln the Generat sectionl the Loss Berluction line other items provision is addeo:

loss deduction end littler items
Frorn lime to time and at our sole discretion
1. lee may provide you, or allow others to provide vou‘ wiih:
al °rlems, memberships special oilers. merchandise pninis. rewards airline milos, services classes
seminarsl or other things cl value designed toneip you or other persons insured under this policy
drainage lite risks you or they tace, including hut nol limited tof loss reduction or satetv~reiateo
items; or

bi itemc. nemourships. special oiicrs, merchandise ;;ioinlsl rer~rards. airline miles services classes
seminars or things el any other type that we thinli may be of value to you orsomeorie else insured
linder thisl poiicy.

2. eve duty maile. or allow others to irrake. one or more ot the following charitable contributions
donations crgilts.

These lterns. memberships special alters merchandise pdals. rewards airline miles services classes

sentinars. charitable contributions donations girls or other things ot value nov be provided in any lorrn.
including out not liiniteti lo. redemption codes coupons vouchersl and gift cards

hit other policy terms and conditions apply

 

 

 

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Policy Endorsemenl

flee following oodorsemeni changes your policy. Please read lois document cere!nlly and keep ll ieth your
policy.

lois Endoreomool Cnangec Your Pallcy~ Kee;; ll lll!lr l'our Fo!fcy

Landlords Paclrage Policy -Vanilalisrn Ceverage~iom

Fo_r_ _an additioan premium and when your Pollcy D€_G_laretlens lisls_thls endorsement ASlSo as being applicable
voor_lla:ndlords_ F_a_c_li_age_i?oli_ey is amended as lollows:

A. Under €o\ierage A-Du.relling Froieci|oo and l}overage B -fllher S!ruoluree Prolec!ion, Losses We no Nel
Co\ror linder Coveragm A and B, item A 18 is re placed by the following

18. Vandalism, or loss caused by fire resufling from vandalism, ll your dwelling is modeled
for more than 99 consecutive days immediately pn'or lo lee vandalism

B. linder coverage A-»Dwelling Prolel:lion and Cnverage B»~»Diher Slroclures Prolocllon, Losses We lie Not
Eover Under Coveragos ll end B, ll:e lollowing is added to lleni A. 19:

l) vandalism

C. Under Coverage 5 ~Fersonal Property Proleellon, Lusses We Covor linder €nverage C, the following item
§s added:

\landallsm. However, we do nol cover less caused by vandelism, or loss caused by ore resulting lzom
vandalism, il the dwelling ls vacant or unoccupied lex more ian 90 sense colive days lmmedielre§y prior to
the vandalism

D. l.|nder Secllon |Addilional Prelecllun, item 2 (entliled ‘Trees. Shruhs, Planis and l.awns "), the last
- sentence el ¥he first paragraph is replaced by the !o|lowing:

lois coverage applies only to difect physical lose caused by fire or llghiolng, explosion riot or civll
commotion aircraft, veniclee, lhefl, vandalism or collapse el a bending s!iaclorc oreny pari of inc
hul|dlng slroc!ore.

 

 

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Policy Endorsement

fire following endorsement changes your policy Ptease read this document carefully and keep it with your
policy

il‘rls Endorsement Cnanges rear Polic;r-~ li'eep lt irwin Your Policy

-o

blow Mexico -
Landiords Packaoe Poilcy Amendatory ’Entiorsement ~isziu

|. in the Generai section of tile oolioy, the Cancellation provision is replaced i)ythe iotiowing:

Baoeetiatien _
‘{nur Riont to Cancei: '

You may cancel this policy by returning it to us or by noiltying us cline future date you wish to stop
coverage

Ottr Fiigilt to Cancel: 7 ` _

We may cancel tnis policy by mailing notice to you at the mailing address shown on the Policy Deciaratloos. ' '
Uur mailing ot tile cancellation notice to you shall i)e deemed to be proot ot notice lemon this poticy has

been in eiieot ior less than 66 days, and ls not a renewal with as, we may cancel this poiicy for any reason

by mailing you notice et least 10 days before the cancellation tai<es effect

billion title policy has been in effect tor 60 days or moro, orii it is a renewal with us, we may cancel this

policy for one or more of the following reasons:

t, Non~payment cl t:)rernlunrl or l 1 -

2. The policy has been obtained through material misrepresentation irauduieni statementsI omissions or
concealment of iact material to the acceptance ot risk or hazard assumed by us; or

3. Wiiiiu! and negligent acts or omission by an insured person that have substantially increased the
hazards insured against or

4. You presented a ciairn based defraud or motorist misrepresentation or

5. Tttere has been a substantial change in the risk assented by ns since your policy was issued

it the cancellation is for non-payment of premium1 we will mail you notice 10 days before cancellation takes
etteoi. it cancellation is for any ot the other reasons we will mail you notice at least 30 days before the
cancellation takes edect.

Covereoe under this policy will terminate on tile effective date and hour stated on the cancellation notice
Your return premium ii any, will be calculated on a prorate basis and rotunded at tile time of cancellation
oras soon as possible Howe\rer, refund of unearned premium is noia condition oi canceliation.

Any unearned premium amounts under $2.{}{} will be refunded only upon your request

Uur iiioiit blot to Renew or Continue:
We have inc right not to renew or continue the policy beyond the current premium period it we don’i intend

to renew or continue ina poiicy, we witt mail you notice at least 30 days before the end di the premium
period our cutting the notice of nonrenewal to you will be deemed proof ot ootioe.

Pape 1

 

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il. in Secllon l»~f:ondlllorts. item 5, liow tile Pay For it l.css, is replaced byrne following

5. tlow title Pay For lt Lcss

linder Co\rerage A-Dweliiog Proleclion, payment lor covered loss to your dwelling will be bytha
following methods

Replaceroent Gost. This means there will not be a deduction for depreciation This payment includes
the reasonable and necessary expense lot treatment or removal and disposal cl contaminants toxins or
pollutants as required to complete repairer replacement of that pari ct the building structure damaged
by a covered tocs.

Replacement Cost payment will not exceed the smallest cl the following amounts

t) the replacement cost cl the partial ot the damaged dwelling and attached building structure with
equivalent construction lot similar use on the same pramises:

2} the amount actually and necessarily spent to repair or replace the damaged dwelling and attached
building structure with equivalent construction tor similar use on the same premises; or

3) the limit cl liability applies ble to the dwelling and attached building structure as shown on the
Pcl`rcy Declaraticns lot Coverago lt-[lweillng Frclecliun_

ll you replace the damaged dwelling and attached building siructure(s)'at an address otherthan
shown on the Policy Dccia ralicrrs through construction of a new building structure or purchase plan
existing building structure such replacement will not increase the amount payable under Fieplacemenl
Ccsl described above The amount payable under Heplacement Cost described above does not include
the value of any land associated with the re placement structure

Hepiacemenl Cost will not apply to: ' `
1) property covered under Cotrerage A~Dwoillcg Protectlon that is not part cl tire dwelling;
_ al property covered under coverage B -Olher Slruclures Proteclicn that is not a building slruclure;
3) properly covered under t:overage C -~Peraona| Property Protectlerr:
4) structures that are not building structures whether or not attached to the dwelling such as
fences. swimming pools patios, awnings, carpeting and outdoor antenoas; cr
5} land

Re placement Cost payment will not include any increased cost due to the enforcement ct building
codes ordinances cr laws regulating the construction. reconstruction maintenance repair, relocation
or demolition cl the dwelling and attached building structures

Under Coceragc B ~»~ttlher Slructures Prolecllon and cherage ll ~»l‘ersonal Property Prolection.
payment lor covered loss will be try one or more cline following methods

at Spec|al Paymenl. itt our option we may make payment rcr a covered loss before you repair,
rebuild or replace the damaged destroyed or stolen property it:
ll the whole amount of loss lot property covered under t‘,overage B -Ulher Struclures
Pretecticn. without deduction tor depreciation is less than $2,500;
2) thc whole amount ct loss lot property covered under Bcverage ti -Perscnal Propsrlll
Prctcclion, without deduction lot del:)reciatlonl is less than $2,508, your Poiicy Declarations

Paoe 2

 

 

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shows that tire Personal Property Reintbursemenl provision applies and lite property is not
excluded from lite Personal Property Reimbursernent provision

b} Aclual flash Value. ll you do not repair or replace lite damaged destroyed or stolen property,

C)

payment will be on an actual cash value basis inz`s rneans there may be a deduction tor
depreciation Payment will not exceed the limit of liability shown entire Poilcy Uectaratlons ior the
coverage that applies to the dana ged, destroyed or stolen property, regardless ot tile number ot
items involved in the lossl .

lt applicable, you may make claim lor additional payment as described in paragraph c) and
paragraph di below it you repairer replace the damaged destroyed or stolen covered property
within 180 days of the actual cash value payment

Bnifdiag Strrrcture neimbursementt Unoer i.‘overage B -Ollrer Siructures Protection, we will
make additional payment to reimburse you ior cost in excess of actual cash value ii you repalr.
rebuild or replace damaged destroyed or stolen covered property within 180 days of the actual
cash value payment into additional payment includes ins reasonable and necessary expense lor
treatment or removal and disposal ct contaminants toxins or pollutants as required to complete
repair or replacement ot that part of a building structure(s) daneged by a covered lossl

Tiris additional payment shall not include any amounts which may be paid or payable under
Sectinn l, conditions -l*¢lold, Fungus, inlet itel and i)ry Rol Hemedialion as a Dlrecl Result ot a
Coveretl Waler Loss, and shall not be payable lor any losses excluded in Seciion i-Your
Property, under Losses We tlc Nol l}over Llnder Eoveranes Aand B, item C.

Bulidlng Stnrcture Re§mbursement will not exceed the smallest ot the following amounts

t} the replacement cost of the part ot the building structurets) ior equivalent construction tor
similar use on the same premises

2} the amountactually and necessarily spent to repairer replace the damaged building
structure{sl wiih equivalent construction for similar use on tire same premises; or

3) the limit ot liability applicable tothe building structure{s) as shown on the Poiicy Declaratlons
lot Cuverage B -Dther Struciures protection regardless cl lite number cl building
structures and structures other than bonding structures involved in tire |oss.

lt you replace the damaged building structure{s} at an address other than shown on the Pclicy
Declarations through construction of a new building structure or purchase of an existing building
structure, such replacement will not increase tire amount payable under Building Struciuro
Reirnbursement described above The amount payable under Buildlng Structure Reimbursement
described above does not include the value ot any land associated with the replacement
structure(s).

Butiding Structure Reimbursement payment will be limited tothe difference between any actual
cash value payment made ior tire covered loss to building structures and the smallest ot 1), 2) or
3) above.

Building Structure helmbursement will not apply to:
1) property covered under Goverage C -Personai Property Proteclion;

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2) property covered under t}otrerage B -Utt\er Struclnres Protectien thefts not a entitling
structure;

3} wail~to-Wel| carpeting cera mic or vinyl floor coverings hardwood tioors, built-in appliancesl
ierrces. avvnings and outdoor antennas whether or not lastened to a bending structure; or

4} lano.

F‘eyment under a}, o), or c)above will not include any increased cost due to the enforcement ot building
codes, ordinances or laws regulating the constmction, reconstruction maintenance repair, relocation
or demoiition ot building structures brother structuresl

di Personal Property Heimbursement. ir\l‘i'ten the Pollcy Dec|arntions shows that tire Pereonat
Property Reimbursement provision applies under Eorrerage C -Personal Prooerty Prolacliori, we
vvili make additionai payment to reimburse you for cost in excess of actual cash value il you repair,
reboiid or replace damaged destroyed or stolen covered personal property or wali-to-wall
carpeting within 189 days ot tire actua£ cash vaiue payment

Personai Property Reirnt)ursement payment witt not exceed the smallest ot the following amounts:

t) the amount actuafiy and necessarily spent lo repairer reptace the property with similar
property ot like kind and ouality;

2) the cost of repair or restoration; or _

3) the timil ot liability shown on the Follcy Dec?arattons for Coverage 6 ~Personai Properiy
Prolectlorr, or any speciat limit ot tie bility described in the policyl regardtess oi the number ot
items of personai property involved in the ioss.

Personal Property Heirnbursernent wilt be limited to the difference between any actuat cash value
payment made iorthe covered less to personal property and the smallest ot t), 2) or 3) above

Personal Property Reimbursernent will not apply to: .

t) property insured under Coirerage A- mailing i’rotection and Coverage B -Olher Siruetores
Proleelion;

2) antiques, tina arts, paintianl statuery and similar anicles vvhicb. by their inherent nature,
cannot be replaced;

35 anictes whose age or history contribute substantially to their vaioe. Tl'ris inctudes. but is not
limited to memorabilia, scuvenirs and coltector‘s items; or

4) propezty that was obsolete or unusabte tor its originatly intended purpose because of age or
condition prior to the lossl

5} wall»to~watlcarpeting.

All other poticy terms and conditions apply.

Pago 4

 

 

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Allstate
landlords
Paekage
Polioy

 

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Potloy: llllitlilil|tllll Eilecltve: rnr//!r/r'riri!ff/
issued io: r‘!flill/iri/il!//fr/!lffllr'lf/liir'
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Ttre company Namacl in me Po|ir.y Deelanrttons
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Delinitions Ltsed in Thts Poiicy...r...
triedan Agreement
l]enlerrnity lo State Stalutes
Coverage Charrgus..
Pollcy transfer
[.ont|nned Coverage Atter Yoer Doaitr..
Cancellation
Mlsrearesentatton rau or Coneealmenl...
Cnarge tor insufficient Funt.ls. . ...
Dondltionai Retnstaternent ..
What Law Wril Appiy.,.......r.
erme tavvsoits May tie Bronghl.
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Bovarene it
waiting Frotecllon

Property We Cover Ueder Uoveraee il ...........5
Property We Do trlot Cotrer tinder
Ceveraoe AB

Covereue B
wear Strur.turss F'mtectlon

Property We Cover tinder Coverooe B......,......S
F’roperty We Do Nol i}over tinder
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Losses We Cover linder €everaoes A end B
losses W;'. Do i\lol Cover Uot:ler
Coveraoes A and l

x

coverage 8
Persorra| Propeny Proraoltrm

Property We Cover tinder Cover‘age 6...........,.10
Property Wn Do Nul Cover tinder Goverage ll ..10
Losses We boyer Undertioverape B .,........…...tt
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Felr Ren!ai income

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We \'rn!i Cover tinder l;overape Dt't
Sec!iuni tiddllinna| Protnclinn

Debris Romoval.. ....
Treesl Shnrbs. Ptanls and r_a\. ..
£mergency Hernoval of Proeerty...
Fire Departznent Chargee
Ternporary ltepeirs Nter a l.oss
An;on Re\.usrd..,

      
 
 
 

   

 

   
   
  
   
 

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tend `...16
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Dedunlibie., .. ....

insurable interest and tier l iabltity ..lfi
talbot ron Musl up inter a loss

{)ur Settternont fictions
iiow We P'ay t~“ora Loss
tier Se:lioment ol toss.
Nrpraisa|.. ...
ebendoned Propeny
§vtor'tgagee_,,.
Perzniss!on Branted to ‘(oo..
Uur tiights i'o 3ecover P.tyrnenl....
Our Riphts To Obteln Salvaoe...
notion Against t...Us
loss to A Pair or Set
diane iteolacemcnl...
No liene!itto Bailse..
(ltlter rnsoranoe.. ...
Ptoperly |nsurance Adlostrnent
Mold teague Wet Ftotend Dry Flot

Rentediation as a Utrecl Result

ot a Covered Water Loss 21

SECTEGN |i--UABILHY NJD PREMISES
MEU|GN_ PRE}TEC`{{(]N

Coverape lt
liability Preloelion

Lnsses We Couer Uncier Cnverage X............\..,Rt
Losses live Do Not Cover l_tncier Coverage di 22

Covelaoe Y
Premlses Medtcal Protect|on

Losses We Cerrer' Unrter Couerage Y............,..24
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Lossos We fin iioi Cover liniior Goverage Y.....24
Seoiinn ii -A£iriiiinnai Proiecilon

Ciaim Exoonscsi.i.r..,i_..
Emsrgenr:y Firsi Ai'd...

 

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V\ihai You iiius! Z)n Aiier a isoss......,,..r............25
Whai an in§nrsci Hrson Mnsi Do»-

Covelage Y- Prsmisos Medical

Proioct§nn.. ... WMZB
Our Payrneni of Loss -~Coverags Y~

Prrzmisos niodioai i’roteciion.
Our limits or iial)ii|ly....
Bankrooloy
nor nights to Recover i`*aymenl -
Co\reragrz X~ iial)iliiy Proieoiion
minn ngainsl iis..
Oiircr insurance -Coveragn X~

Liabiiiiy Proier:ilon.. 2?

  

 

SE{}TIUN iii-OFT|EHAi PRDTEBUDH

Uoiionai L‘.ovorages
Y{w May Buy

Coverage BC

Euiidlng Godes _?7
Coverago F

Fire Deparlment€hazgss ?i
Govcrago G

Loss Assessmsnis 27
Covisrage S[l

Sateiiiie iiish Aniennas. ... ….. . .... .,. ,..28

GENEML

Dsfinii!ons ibid in 'i'i'r£s Poiicy

i. Boifliy inlthr-rneons physical harm in iiin
bndy, including sickness disai:iiily or
disease. and resni£ing dsath, sxonpi firm
bodily injury does nol incinde:
ai any venereal diseaso',

iii Heroos;

 

ci Aoqulred immune Deiiciency Syndrome
iAEi'JS‘

nor nos norris complex rnnoi;

e} iiuman inrmunociei:`ciency`\/irus iiilll'):

or any resuiling sympion\, alienl, sonriiiion.
disease or illness misled in s)ih;our;ir ai iisiod
above.

linder coverage Y--i=remises Meiiicai
?rotsr;ilon, boom iniury means physical
harm in iha body, including Sickncss or
disoase. excnpi ihai bodiiv iniury does nor
innilnls;

ai anyvenereaidiscass;

i)) Herpos:

ci Ar:quimri immune Dr:iicirrmy Syndrorne
(AlDS);

ri) Ai[iS Reiaier:l Cc)rnpimr (ARC);

e) Human immonorieirniencyinrus [iiiv);

or any reselling sympiom. ofiect. conor'iion,
disease or illness remind lo a) inmugil s_i listed
aims

Buiiding structure -- means a structure with
walls and a rooi.

ausinoes Wmeans any full or nari»tinio
aciivily of any %linri engaged in ior economic
gain and the rise of any pan ol any promises
iorsucir ourpr)ses. However, the iawiui renial
or iease_ or holding for reniai or iease. ul she
residence promises w§i| not be considered a
business

Bweli'rnp -~meaos a one. two. three or iorir --r
farnin bonding sirur:luse which is used
principally as a private residence and located

al tha address s€alsri on the Pdiny

[ieciaralions.

insured porsonisi-rneans;

ai if you are shown on ina Poiicy
Declaralinm as an individual and you
are a sure nroprielor. von and your
resident snouss.

bi liyou are shown on ins Poiicy
Dsoiararions as n partnership or |oinl

Paqn 2

 

 

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voniore, tire named partnership orjoint
ventore, including any of its partners or
members individually willie acting within
the course and scope ol thelrdutios in
connection with tire ownership
maintenance or use oi the residence
premises1

cl ifyoo are strawn on the Pciicy
Decinrations as an organization other
than a partnership crieint venturel tire
organization directors. trustees or
governors of tire organization while
action within the course and scope or
their duties in connection with the
orensrshlp. maintenance or use ot the

' residence premises

d) your employees white acting within tire
course and scope ot their employment in
connection with tire ownoronip,
maintenance or usc or the residence
practicesl

el any person or organization while acting
as your real estate manager lot the
residence premises

ittls policy does not apply to bodily tnlttrt’.
personal tn|ory or property carriage arising
from tile conduct of any partnership joint
venture reorganization which is not named on
the Poiicy Declaralions as tire insured

B. Dccurrenca -~rneans:

aj under ttoeerape it-i.labltity Proteclion,
an accident during the policy period
including continued and repeated exposure
insubstantiai§ythe same general trarmtui
conditions during the policy period
resulting in bodily ln}ury. personal iuiury
or property damage and arising from too
contentionl maintenance or use ot tire
residence premises

pt under Coverape Y-Framtsex Msdicai
Frotectlon, an accident during the policy
period, including continued and repealed
exposure to substantiatiyiire same
general harmlu| conditions during the
policy period. resorting in bodilyr injury
and arising from tire ownershipl

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maintenance or use ot toe residence
promises

?. Psrsonai injury -means damages resulting

trom:

a) la|sa arrest; false irrprisnornenl:
wrongiui detentlon:

bi wronglui entry; invasion ot rights ot
occupancy wrongful eviction;

ct iiirel; siander; humiliaitnn; defamation ol
cnatactor; invasion ot rights cl orivacy.

8. Property damape~rneans physical bonnie
or destruction ot tangible property, including
loss ol its use resulting from such physical
harm or destruction Property damage does
not include their or conversion oi property
by an insured person

El. dental linit-»n‘eans trial portion or your
dwelling winch terms separate living space
intended for tenant occupancy

tii. Rosidenco premises -»»rneans your detailingl
other structures and land located at the
address stated on the Poilcy Deoiararions.

11. Tenant '~rneans any person who renls,
leases or iawiuiiy occupies a rental unit.

12. .-tiartdaltsro ~moarrs w_iiilui or _rrratrclnus
conduct resulting in rla maps or destruction ct
property, iitrrrdaiism does not include theriot
crooeny.

td. We. us. cr our-means the company named
entire Pollcy Dcciaretionsr

id. ron or your-means the personts),
partnership joint venttrre, or organization
specitically named on the Pol:'cy
liecfaratlons as too insured

mention defendant

in reliance on the information port have given os.
we agree to provide tire coverages indicated on the
Potlcy Deciaratlons. in returnl you must pay tire
premium when due. comply with the policy terms

Fage 3

 

 

 

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and conditionsI and inform us of any change in title
or usc of tire residence promises

Sut)§ecl to the tours of this policyl tire Pulicy
Declnratinrrs shows the location of the residence
premises applicable coveragos, limits reliability
and premiums lite poticy applies only to losses
or occurrences that take place during tire Potrcy
Period. The Poiicy Periotl ls shown on the Poiir.y
Dec|araiions, This policy is not complete without
tire Policy Declarntions.

`lhe terms cl this policy impose loinl distinctions
on persons defined as an insured person This
means that the responsibitll§ss, acts and
failures to act ot a person defined as an insured
person wilt he binding upon every other person
noticed as an insured person

doniomn'ly in otero statutes

Wiren a policy provision conflicts with the
statutes nf the stale in whlct*. the residence
premises is located the provision is amended to
conlth fo such statutes

coverage finances

When we broaden coverage during thc premium
period without chargel you have the broadened
coverage ii you have purchased tho rx)verago to
which the changes apply. inc tone denno coverage
applies on the date ina coverage change is
etiective to your stale Dthorwiso, tire policy mn tie
cha nged only by endorsement.

fire coverage pro\ided and tire premium for the
policy is based on interdiction you have given
us. Yotr agree to cooperate with ns in
determining it this iniormatiort is correct and
ooirrplete. You agree that lt this information
changes or is incorrect orincnmp|ele. we may
adjust your coverage and premium accordingly
during the policy period

tiny calculation of your premium or changes in
your coverage will be made using the rules,
rates and forms on i|le, lt required tor our usc in
yourstata. Tlte rates in client al tito beginning of
your current premium period will housed to
calculate any change in your premium

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roney Transfar

You may not transier this policy to another
person or organization without our written
consent

continued £nvorage)t!ier Yoor Deain

llyoo dle, coverage will continue until tire end ot

the pron'liun'r period for:

i. Yoor ingal representative while acting as
such, but only withrespecl tuttle restoration
premises and property covered under this
policy on the dale al your death

2` An insured person, and any person paving
proper temporary custody ot your property
unlila legal representative is appointed and
oualiilod.

Ennceflal'fun

Yoor Fliglit to Cancel:

‘r'ou play cancel this policy by notifying us nl ina
tr.rturc date you wish to stop coverage

€ltrr Filgln lo Gancul:

We rrray cancel this policy by running notice to
you at lite mailing address shown entire i°olicy
fiectarations.

When this policy has been in effect toiless than
69 days, and is not a renewal with ust we may
cancel this policy for any reason by giving you ot
least 10 days notice betan the cancellation
takes etfect.

Wnen line policy has been in otioct lot 60 days or
more. or il |tis a renewal with us. we may cancel
this policy lorene or more of the iollo.ving reasons
t. non-payment oi premium;

2. the policy was obtained by
misrepresentation hand orconcealment
ol material lacis;

3. material misrepresentation fraud or
concealment of material facts in presenting a
claim1 or violation ot any ct the policy terms;

~i. there has been a substantial change or

. increase in hazard in tire risk we originally
accepted; or

5, the dwelling has trash condemned oya
governmental authority

Pagen

 

 

 

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little cancellation is tor non-payment of
premium wervill give you al least ill days
notion ll the cancellation is tor any ot the other
reasons we will give you al least 30 days nottoe.

£iur mailing tire notice ot cancoilatr'on toyota will
bo deemed prool ot nolit:c. Covernt,re under this
policy witt terminan on the attractive dale and
hour stated on the cancellation notice tour return
premium it any, witt be calculated on a pro rata
basis and relunded at the lime of cancellation or
as soon as possible Howovsr. relund ol unearned
premium is not a condition of cancellation

liar Righl hint to Eonllnuo or Ftsnevr:

Wa have the right not to continue or renew this
policy beyond tire current premium period tl tva
do not intend to continue or renew the oolicy. we
will mail you notice al least 30 days cercla the
end ot tire premium period Dur mailing the notice
or nonrenewal to you will be deemed prool of
notice

Moropres notation l-'ra tro orCorrcealmeol

Wa may vold this policy it lt was obtained by
misrepresc ntation, fraud or concealment of
material lants. ll we determine that this policy is
void. all premiums paid will he returned to you
since there has been no coverage under tlrr's
policy

Wo do not cover any loss or accordance in which
any insured person has concealed or
misrepresented any material lact orcircornstanoat

charge for insufficient Fumis

ll at any llmu, your payment of any premlem
amount due is made by chocl<, electronic
transactiorr. or other remittance which is nol
honored because of insufficient hinds or a closed
account you will he charng a leo.

Gondlitorral Re/nslaieroeoi

ll we malta cancellation notion because you d|drr'l
pay the required premium when due and you then
tendor payment by check draft, or other remittance
which is not honored upon presentatiorr. your
policy will terminate on lite date and thru shown on
the cancellation notice and any notice we issue

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which waives the cancellation or roinstates
coverage is void This means that we will nol be
liable under this policy for claims or damages after
the date and time indicated on the cancellation
noticeA

toilet tate tl/il‘l£ppt'y

this policy is issued in accordance with tire laws ot
the cintolo which the residence premises is
located and covers property or risks principally
located in that slater Sul)jecl to the following
paragraphl tha laws ot the state in which the
residence premises is located shall govern any and
all ciairrls or disputes ln anyway rotated to this
policy

il a covered loss to proporty, or any other
occurrence lot which coverage applies under this
policy happens outside tile state in which tila
residence promises is located claims or disputes
regarding that covered loss to property orally
elliot covered occurrence may bo oovornod try the
laws ot the jurisdiction th which that covered ross
to prooorly. or other covered occurrence happened
only little laws ol that jurisdiction would apply in
the absence ol a contractual choice of law
provision such as this.

mauro r‘.o wsrrt!s Mny 3a drought

Sohiect to tile following two paragraphsr any and
all lawsuits in any way related to thls policy, slra|t
he hr'oupht, heard and decided only ina stare or
iedcral court located in the stats in which the
residence promises is locatod. nnyano all lawsuits
against pa rsons not parties to this policy out
involved in the sale, administration performance
or alleged breach ol this policy or otherwise
related to this policy. stratton t)rer.tght, heard and
decided only in a state or federal court located in
the state in which tire residence premises is
located provided that such persons are subject to
or consent to suit in the courts specified in this
paragraph

lt a covered loss to properly or any other
occurrence for which coverage applies under this
policy happens outside the state in which the
avoidance premises ls§ocatetl. lawsuits regarding
that covered loss to property or any other covered

mass

 

 

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accurttmt;s may also us brought in lite judicial
district where thotcovsred loss to propertyx or atty
other covered occurrence happened

Nothirtg to this provisionl iit'tterc Lawsttits May Btz
Brottgttt, shall impair any oar£y`s right to remove a
state court lawsuit to s federal court

dutton .¢tgat'ust its

Ntt csra may bring art action against us unless thorn
has been full comptirrnce with all policyterms.

Any action against ustc which nsittterthe notion
Aga|tts‘t lrs provision located in Seottorr l
ttonrt'ttlons nor the dutton ngaiosi Us provision
located in Ser.‘ltrut it t`.ort:i|tittns applies must bn
commenced within otto year ot ins date ittn cause
of action accruos.

lt art action is brought assertan claims relatth to
the existence or amount ot coversr,te, or the amount
ot loss iorwttictt coverage is sottghi. under
dittorottt coverugns of this poticy. thc claims
rotating to each coverage strait too trczrlcd as lt they
were separate actions for ltto purpose ut the t§rtte
tirrr‘t to commence aciiurr.

Arbiiraiturt

Any claim or dispute in any truly related to this
ucticy. try art insured person against ns sr us
against an insured porsnn, troy be rcsotyed try
arbitration only upon mutual consent ot the parties
Arbltration pursuant to this provision strait be
subiect to the ioilowtrtg:

a) noarblirator sha|£ have tire authority to award
punitive damages orattorrtcy`s lees:

b) neither ot the parties shall be entitled to
arbitrate atty ciath or disputes itt a
representative capacity or as a member ot a
class: and

ct no arbitratorsitali have lite authorityg without
inc mutual consent t)i tito uarttes. to
consolidate claims or disputes in arbitration

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SECT!UN I~ VUUR FRUPEBTI"

coverage A
Dtr'sriing holschuh

hoper tva t.‘oyur finder f.-`ur'uratt'e rt:

1. Yoor dwellingl including attached structures
al the residence premises Fcnccsj and
structures contracted to your dwelling ny
only a fencer rttltity llnc, or similar
connection arc not conslttored attached
structures

2. Ccrnstructlon rn;rteriais and supplies at the
residence promises ior ustt in connection
with your utu ottlttg.

3. Waiilto-waiicurpets'ng fastened to your
dwelling

Pt'ort.erry tro tro not 60 war turner {.'o versus rt:

t, Any structure or other property covered
under Cotroraoe it mtritrer Strttt:ttrres
t’roiectlon.

2d Lattd, rtu nut£crwlterrt located ortho
replacement reoul|ding. restorationl
stabilization or value ot any such iacd.

3. Saici|iltt dish antennas and their systemsl
whether or not attached to your unredlng.

d. Gortstruutlon outcn'ars and supports at the
residence practices lot use in connection
with structures other man your dwetitog.

assume 3
fiber Sttur:tures Frotsct?urrr

H'o,rrarty We 60 rsr Un dar Bo versus B.'

t, Structures at the sources shown on the
Poit'cy Doc§sratiorts separated from your
dwelling by clear soar;c.

2, Structures connoctod to your dweltlttg by
ortlya ieucc. utility linc, or similar
connection
Paoa 6

 

 

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3. Cnirstrucllcn maisriais and supplies al tire
residence premises far usc |n connection
with Struclures. other than your dwn§llng` at
the rnsir!cncs premises

ri. lr’thli-to-wall'carcoling laslcnnd tc building
structures other than your dwelling

5. t"snces ar the residence prcmisas, whcthcr
or oct connected to your dwelling

Prupsrry Wc Dd Nril‘ t.'c:rar tinder damage 51

1. ilny structure cr other progeny covcra.rl
under Cnveragn it- limiting i’ralocitnn.

2. tsnd. nn msiterwhers located critic
rsciacemcnr. rchuilding, restoratlorl.
stabilization or voice or any such land

3. Satet||tc dish antennas and their systems
whothsr or not attached toa building
structures

4. Construction materials and supplies at the
residence premises ior use in connection
with your awaiting cr any structure not
located al the residence premised

towns We £'ovsr tinder Coreragss rt and B:

live will cover sudden and accidental direct
physicai loss to property described in Csvaragn
A-tiwailing Prolei:tinn and t§mrcrans H ~Dthor
Strucldres indication except as limited dr
excluded in this policy

er.rscs Ws ila hist L`n war tractor coverages it and

B:

rt We dc ncr cover inns to the property described

ln damage A-Dweliloi; Protocliorr sr

Covaraqa B-£li)sr Siruclures Frotestirrn

consisting cl srcassed by:

i. t'-locd, including hutnot limited to,
surface watsr, waves, tidal water or
cvertinrn st any body ot watch orspray
from any of thcsc, whether cr net driven
by wl nd.

2. Vsster or any other substance that tracks
op through sewers or drains

Water or any other substance that
traditions horne sump pnmp, sump
comp well cr other system designed
ior the removal cl subsurface water
which ls drained ircnr a foundation
area or a strucinro.

Vrhtdr cr any rather substance on 01
below the surface cl the grcund,
regardless di its source. this includes
water or any other suhsla nce which
exerts pressure dnr or ilurrs, snesz rn
leaks ihmugn, any part cl the
residence nrcmlscs.

We discover sudden and accidental .r
direct physical loss caused by fire dr
enptcslcn resulting irurrr items 1

through 4 listed a bdvc.

Earih movement di any type. lnc|uding,
but not limited ic. earthnrrako, volcanic
sr‘or)tion, taint lldw, landsiida,
sunsldsncc. rnurJi|ow, pressure,
sinkhoin. ercslcn. ortho sinkingl rising,
shitiirrg, creepirig, expanding hutging,
cracking. sending cr contracting cl tire
sartll. Thls exclusion applies whether or
not the earth muvsmcnt is combined
with water.

Wa dc cover sudden and accidental direct
physicai loss caused ny lirs. sxntos|cn cr
breakage ct giass dr safely glazing

materials rssuitlng from earth movement

Enicrcernant of any building ccdes,
ordinances cr ian/s regulating thc
construction reconstruction
maintenanco, rccair, placement or
ciernotiriorr nl any nuiiding structured
other christine inland al the residence
premises

tdc dc cover sudden and accidental
direct physical loss caused try notions
01 civilauthcr`rty tri proven: the spread
di tirc.

Pagrr?

 

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7. the la lture by any insured person to
la irc ali reasonable crops to save and
preserve property when the property ls
endangered ny a cause oi loss we
coven

B. Any substantie|olrange or increase in
hazard ii changed or increased by any
means within the control er knowledge
ot an insured person

9. intentional or criminal acts oi. or at
the direction ot', an insured person it
the loss that occurs;
a) mayl be reasonably expected to
result irene seen acls; or
h) rs the intended restril al scott acte.

this exclusion applies regardless ot
whether an insured person is actually
charged with, or convicted ot, a erirne.

to, Coilaose cl a building structure many
part et admitting structure except as
seeoilically provided |n Sootion t-
additional Prolectiorr under item ?,
Celtaoee.

tt. Soil eondltione, lncludine. out riot iimited
to. corresch action. chemlwls.
compounds, eientenle. suspeneione,
meter reductions cr gets ln the soii.

12. Arryiype et vaporc, tumee, acidsz toxic
chemicats, toxic gaeses, toxic iiqtrlds.
toxic solids¢ waste materiats, irdtants,
contaminants. er pollutants, iecludtng,
but not limited to:
at lead in any lorm;
ot asbestos ln any torm;
ct ration in any iorrn; er
d) oli. fuel oii. kerosene iinrrld propane

or gasoline intended tor, or tronl, a
storage tank located et the residence
premises

13. et Wear and teer. eglng, merrlng¢
scratohing, deteriorationl inherent
vloe. cr latenldelecr,

b) Mecttanical breakdown

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14.

ct Growth ot treee, shrtibs. plants or
towns whetner or riot such growth is
active or heiow the surface of the
ground;

d) Hus% orothercorrosioe,'

e) Contaminatlon. r`neluding, bet not
treated to. ted presence ct toxic
noxious, or hazardous decree
chernicais, tiqe|dc. solids or other
substances at the resldenco
premises or in tire air, land or water
serving the residence premises

ii Srrtt)g. Smtike from the

manufacturing et atty controlled

srrhetanco, agricultural smudeine
end industrial eperalions;

Settiing, cracking. shrinking

hoteler or expansion ot

paverrreate. caties, ionndatr'crrs,
wal|s. iioors. roots or cett`rngs;

|nsectc, rodents. birds or domestic

animalsA We do cover lite

breakage of glass or salary glazing
materials caused ctr oirds; or

il Seizore by government authority

H.

-EZ

ll any ot a)throngh h) cause lite sudden
and accidental escape ct water or
steam front rt pllrmtting, heating or err
conditioning system household
aoc§tance or tire protective sprinkler
system within your dweillng, we cover
the direct physical damage caused by
lite water or steam ii lms to covered
property is caused try wateror steam
not otherwise excluded we witt cover
the cost ot tearing out and replacing
any part of your dwelling necessary to
repair the system crapotiance, this
does net include damage to the
detective sysierr\ or appliance lrorn
which the water escaped

Freezlng of.’

a) pion‘oing, fire reotective sprinkler
systerrre. heating or air conditioning
systems

bi horreehoidapoiiancee;or

Fane 8

 

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cl swimming pools, hot let)s end spas
Within inc dwell|eg. their filtration
and circulation systems;

or discharge leakage er cvcrilow item

within at bi or cl above caused by

lrcezing, while tire buildan structure cr

any remal noll in that building struclure

is tenant unoccupied or being

constructed unless you have used

reasonable care to:

at maintain heat in lite building
structure incteding ali rental units;
or

bi situi otr the water empty and drain
lite system nan appliances le lite
building structure

15. l~`recziniz, thaw|rig, pressure or wclp|tl cl
water, snow or ice4 whether driven by
wind orool. this exclusion applies tot
al fences, pavements. pntlcs,
foundationsl retaining watts
eoii<iteads. plers. wharves and docket
and

b) swimming pocis, hot tutis, seas their
ii|tral§on and circeiaiipn systems it
thc swimming pooi. hot tub orspa is
not located within a heated portion of
tlte r.lwellin§:l

15. Seepeged meaning continuous or retreated
$ecusge cr leakage over a period ot
weeks montits, ar years. cl niatcr. steam
orfuei:

a} from s plumbing treatith air
conditioning or automatic life
protection system or lrom within a
domestic appiianoe; or

b} from within or around any plenreing
fixtures inctedinq. but not limited to.
shower slal|s, shower baths, tub
installations sinks mother tl>rturas
designed let the use nl wateror
steam

l?. theft er bumiery.
Hewsvcr. we witt cover damage in the
exterior iii covered building structures
caused by tire breaking iri ct a burglar
or burglars ii lite dwelling is completed

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and has net been vacant or unoccupied
tot more titan 90 consecutive days
immediately prior to inc loss Wiien we
cover damage le lite exterior oi covered
building structures caused ny a
burgiar or burglars we will also cover
damage to interior suilai;es oi exterior
doors and windows damaged ny the
break-in

. .Vanda|ism` ilewevnr, we discover

sudden and accidental direct ptiyslcei
less caused by tire resulting lrotn
vandalism unless tract dwelling has
been vacant or unoccupied ior more
than 90 consecutive days immediately
prior te the vandalism

. eng act cl a lenanl, or guests cl a

tenant, unless the act results in

sudden and accidental direct physical

loss eau_serf.by: ' `

al ilte; `

ii} emission

c} vehicles

dl smoke f~lowever, we do not cover
loss caused t)y smoke from the
manufacturing of controlled
Sutistances, agricultural
sonidging or industriai
operations

et increase or decrease el anltlclaliy
generated cieclricai current to
electricat appliances llxtures and
wiring;

f) bulging, burniog\ cracking oz
rupture el a steam or hot water
heating system an air
conditioning systeml an
automatic tire protection system
cr an appliance for heating tit/alert

el water or steam that escapes due to
accideoiai discharge or overtiow.
front a pton'iliinpl heating orair
conditioning system art automatic
tire protection syslc ro, or a
household appitance; or

til lteezin;] ol a plumbing treating orair
conditioning system or a household
appliance

Pape§

 

 

 

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2l1 Vveathor conditions that contribute in
any waywitlr a cause ot loss excluded
under i_osses We Do riot i;over Urider
Covarago hand B lo produce a |oes.

21 Plann|ng, {'.orrs.lmc:ion or hilainiena cca,
meaning lati¥ty\ inadequate or doiective.‘
a} piannino. zonirld\ developmenr,

serveylng. siting;

b) design specifications
workmanship repair, r:orrsirur:ih:sc4
renovationl reinodeiing, oiadinor
compaction;

c) meierials used in ronnie
construction renovation or
remodelinp; el

di maintenance

of property \vhellrer on or off the
residence premises by any person or
organization

B. We do rroi cover loss lo ina propsriv described
in coverage A-vaolilrrg Prrrtoeilon or
Covarauo B ~Otirsr Slweloros Prolectlon
where
t} ihore aro two or more causes of loss lo
the covered properly: and

2] also predominant cause(e) of loss is (are)
excluded render ilamsA‘i through A 21
above

ll we do not cover loss lo ¥he prepedv described
in (;ovsraga §"-Dwol|lrip Proteslion or
Coverage B elllier strveiures Pro!eetlcn
ooneisiing ol oreaused by mold, fungus. wei
rot, dry rol or bacteria. ?trls includes any loss
whic,h, |n whole or in part arises oui oi, is
aggravated try or results horn mold funges,
wet rol. dry roi er bacteria.

lhls exclusion applies regardless of whether
moid. fungus, wet roi, dry rot or bacteria arises
from any other cause el zoss. including out not
limited lo a lose involving water. water
damage or discharge which may olnorwise po
covered by this policy oxeep! as specifically
provided irl Ser`.iion iCondilans -M€iid,
Fungus, Wel Eol end Drv Rol Remedialioe as
a i}irocl Resvii cl a Covered Waier Lcss,

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D. Wa do ooi cover loss io the property described
in L`overage il - Dvrellicg Prolecllorr or
Bovszage B-{litrer Slrue!eres Froteclion
consisiirrp el or caused bylhe |o||owing, ihese
exclusions apply regardless cl whether any
other cause ooelrii)oiod commercially or in any
sequence to produce the ioss:

il Nuolear action meaning nuclear reecliorl,
discharge, radiation or radioacilve
contamination or any consequence ol any
cl zheso, lose caused by nuclear action is
not considered loss try fire. explosion or
smoke

Wa rio cover sudden end accidental
direct physical loss by lite resulting ironl
nuclear action

E) War or warliire acls, includingl but not
limited to, insurrection, rebellion or
revolution

en versed £.‘
Personei Froperly Profeo!i'on

Froperiy life £,‘ovelr binder beverage £.’.'

Porsonol property owned or used oven iesererf
person which ls rented or held lor rental with she
residence premises or used for inc service ol
the residence promises Ccverage ac;)|ies only
while the personal pronerlv is on the residence
prai'¢ll$es, cir Whlie ii is temporarily removed 101
repairs

hourly We Do Nol' dower wear damage r’,‘:

l. Nrsonai propartyepocilica|iy described and
insured bv this or any other insurance

2. Anirl'ais.

3. Motor|zed land vehiclesl including bet not
limited lo, any land vehicle powered or
assisted ove motor or engine wa do not
coverany motorized land vehicle parts
equiprneni orsccescorlee. Wo llo, nowevcr,
cover moior'izcd land vehicles and their
parts, ooulpmern and accessories used
solelylor the service of the residence

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promises rt uni licensed ior use on public
made

4. Aircratt and aircraft parts

5. li\iatercrall. inciudlng their trailers1
itrmit:hirrnn. equipment and motors

6. t)uidoorsigns.
7. Propettv cl ronmers, boarders ortttnaltts.

B, Any devicc, ceiio|arcontrnunlcaiion sustain
radar signal reception system accessory or
antenna designed for reproducing detectingl
receiving tmttetnitiing. recording or playing
buck dala, sound or picture which may be
powered by electricity home motorized land
vehicle or watercraft

ti. Satetiita disc antennas and tneir systems

losses lite L‘euor tinder €atrerage E.‘

Wa will cover sudden and accidental direct
physical loss to tire property described in
[;mlerage 8 -Petsnnai i’roporly i‘rniet:tiuh,
except as limited or excluded in this noticy.
caused inn

1. Fire or tigtttning.

Howevcr. we do nol cover loss caused by
tire resulting irom vandatism il your
dwelling has been vacant or unoccupied for
more than 99 consecutive days undeniath
prior to the vandetism.

2. Wl ndstonn or trail

We do not cover loss in covered property
lnslttc a tuttidlng structure. caused by raln,
snnw, sleet. sand ordust unless tttrzwind or
hall tirst damages the root or watts ann inc
wind lnrces rain snow, steci, sand cr dust
through the damaged root or wall

3. Exoios|on.

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‘lD.

11.

fiioi or Givii Uommniton, including pi|iage
and lootan deting. and attire site oi. the riot
orclvii commotion

Atrcraii. including salt-propelled missiles and
Spat:ccralt.

Veiticles.
Smn|t e.

tila do not cover loss caused try smoke
truth tile manufacturing et controlled
substances agricultural smudging or
industrial opera iions.

Falitng oi)iects.

We do not cover loss to personal property
insidca building structure untesslhe tolling
object iirsl damages art extericrwali or root
cline entitling structure Damege in the
falling object itseii is not counted

Weigbi ot ice, snow er sleet which causes
damage to persona§ property ina building
structure. but only it inc building structure is
damaged due to the weight ot ice, snow or
sleet.

increase or decrease ct artiltclatly generated
aiectricai current to erectn'cal appliances,
i§atures and wiring

Breat»tage of glass, meaning damage te
covered personal property caused try
breakage nl gtass constituting a part el any
building structure on tile residence
premises This does not include damage to
the giese

. Bu|ging. bnming, cracking or rupture of a

steam or not water heating syslcrn, an air
conditioning system, a rt automatic fire
protection system cr an appliance for heating
Watttr.

. indict or steam that escapes iroma

piumbtng, heating or air conditioning
system an automatic tire protection

Page1t

 

 

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systom, or lront a household appliance doc
to accidentai discharge or oysrflow.

We donnl cover lossln the system or e.

appliance lronr which tha water or steam
escapss‘ or loss horn water which books up
through sewers or drains or oyorttows train a
sump pump. sump pump well or other
Sysicrn designed lot the removal ot
suttsurtacc water

which is strained from a ioundat|onorea st a
structurc.

to. Frcezing ot a plunihinp, heating or air
conditioning system or a house hoid
ap;)itar:cc.

Wo do not cover tries to any colored property
in a building structure orally rental unit al
the residence mentions under perils i?it i3l.
and itt)causod by or resulting horn treczing
while tha building structure or any rental unit
in that building structurois vacant
unoccupied or under construction unless you
have used reasonable cars tr):
a) maintain heat intho building structure
including ali rental unita; or
h} shut hit the water supply and drain tire
system and appliances in the building
structures

losses lite do Ndi t.`oyor tinder 60 yoran C:

it Wo do riot cover loss to the property
descriuad in Coueraoo E»~Fersonal Protiarly , 5
Proioclioh consisting cl or caused by: '
1. Flood, including but not limited io,
soriaco victorl wavcs. tidal water or
overtime ot anybody ot walsh orspray
imm any oi tltsse, whether or not driven
try wind.

2. Watsr or any othersot)atanoc that tracks
up through sewers or drains

S. Water or any other substance that
overflows trom a sump pump, surnt)

pump well or other system designed ‘ 7

torthc removal et suhsurlace water

which is drained tronr a inundation
ama o£ a structurs‘

Water or any other substance on or
below the surlacc oi thc ground
rsgaedlcss ot its source this includes
Walor or any othor substance which
strong pressure on. or ilno's` scalia or
leaks through any part ot thc
residence promises

Wc do cover sudden and accidental
direct physical loss caused by tire or
explosion resulting tmrn items t
through 4 listed above

Earth movement ot any type. lnclodtng,
i)ut riot limited to, chrthquako_ volcanlc
eruplton. iowa liow, tar\dstido,
srrbsirtcacc, ntodtiow. oressuro\
siri<iiolo. erosion or lite sinking, rla|ng.
shitttng. crssping. expanding1 hutqlng,
crackino, settling or contracting ot the
earth.

this exclusion applies whethoror not
tha earth movement is combined with
water.

Wo docoycr sudden and occidental direct
physical loss caused by tiro` explosion or
trackage ot class or safety glazing

materials resulting trout earth rnr)yomcfit.

Eninrccmonl ol any building codss.
ordinances ct taws regulating the
construction reconstruction
maintcoancc, repair, placement Or
demolition ot any building structure
other structure or land at the incidence
premises

this do cover sudden and occidental
direct physical loss to covered
property caused by actions ot civil
authority to prevent lite spread ot ttrc.

The taiiuro by any insured person to

take all reasonable steps to says and

preserve pmpa riy when the property is
Paua 12

 

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ill

tt.

12.

endangered by a cause of loss we
t.![)\r‘t'¢{A

Any substantlat change or increase in

hazard, it changed or increased by any B.
means within the control or knowledge

ot an insured person

intentioan or criminal acts ol, oral tile
directtot ot. an insured person, tt the
tons that t)cctzrs:
at may be reasonably expected to
result trom such acts; or
hi is the intended result cl such actsv C.

This exclusion entities regardiess ot
whether an insisted person ls actually
charged witlt. or convicted ot, a crime

tony type ot vapors fumes acids, toxic

chemicals toxic uasses, toxic |inuids,

toxic solids. waste materials irrilar\ls.

contaminants or pollutants includingl

nut nut limited to:

a) icad in any tornt;

bi asbestos in any iorm;

cl moon in any fortn; or

d) oill luel oil,ttorosene. liquid propane
or gasoline intended tor. or train a
storage tank located at the residence
promises

Weather conditions that contribute in
anyway with a cause of loss excluded
under Losses Wa t)n list Bo\rer meter
Govorauo £ to produce a loss.

Ptanning. Cunstruction or Maintenance,

meaning fan|ty, inadequate or detective:

at planning, zoning, development,
surveying, siting;

b) designtsoocilications,
workmansntp. renal r, const rucllon.
renovation. remodelinn. gradingl
compaction;

c) materials used in repair.
oonstruciion. renovation or
remodeling;or

di malatenance

ot property whether on or oil tile
residence premises ny any pnrson cr
organization

We do not cover loss to the property described

in Coverano il -Fersonat t’roparty Proiectton

Whon;

tt there are two orntore causes ot loss to
the property; and

21 the predominant cause(s} of toes is iero}
excluded under items At through MB
above

We do not cover loss to tire property described
in damage C -Psrsonat Prooorty Protect|on
consisting of or caused oy

mold longus, wet roi, dry tot or bacteria this
includes any loss which in whoto or in part.
arises out oi, is aggravated t)y or results from
moio, iungus, wet rot, dry rot orbacteria,

This exclusion applies regardless of whether
mcirt, innous. wet ro:. dry rotor bacteria arises
truth any other cause et loss inciuding hnt riot
ltrrttod to a loss involving watch water
darreoe or discharge which may otherwise be
covered by itr|s policy except as specifically
provided in Seotlor\ iCond`tttons ~»Mold,
Funuos,Wot 801 and D:v not Rsrnodiatlon as
a D|reci Fiosolt cd a Eovered Water Loss‘

tila do not cover loss to the property described

in Boveraue C …Personai Property Protectlon

consisting ot or caused by the following Tttase
excursions apnty regardless ot whether any
other cause contributed concurrently cr in any
sequence lo produce the |oss:

t} Nuclearacl`son. meaning nuclear reaction
dischatne. radiation or radioactive
contamination or any consequence di any
ot these Loss caused try nuclear action ts
not considered tose by lire, exclusion or
smoke

live do cover sudden and accidental direct

physical loss by tire resulting tront nuclear
action.

Fage 13

 

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2} ‘Mrr or war|iire ncls. inclurling. bill nor
limited to. insurrecllon\ rebellion or
rovoioiiorr.

taverapo 0
Fair Henr*el'lnr:oms

tile Wili l?o ver under 60 nemng fl:

l. Yoor lost iair rental income reeuitino from a
covered |oss, loss charges and expenses
which do not continue when a loss we
cover under Colleraoe A-Dwoillnp
Prolecllon nlairssa rental unit
unirrtrahiletrlo. thin will pay ior lost fair rental
income lrlr the shortest lime required to
either repair or replace ilru rental onit, inn
not loe)rcoerl iii months lrorn ihs onto ol
the losswlrichnrado lhe rental onlt
troinhai)l`lah|o.

2. Yoor lost fair renlal iocorne, tose charges
and expenses which do not continue, tor up
to two weeks should civii authorities
prohibit use of the dwelling due to a loss at
n neighboring premises caused by a pont
wa insure against under this policy.

Howover, payments for your lost lalrr'enlai income
rios lo remediation ol moiri, looous. wet rot or dry
rot will not be paid in addition torran payments pain
or payable under Sactlolr i Corniltlons -Moitl.
Flu\gurs, trial list and £lr;' lint Romocliatlon as a
Dlrecl Resuit ot s Colrorect Wator toss.

these periods ol time are not limited by this
termination o% this policy

Thls protecllon begins only after you hare given lrs
notice ot the covered loss and only ii, ai the lime ot
tire |oos. the rentai unit was lrnbltai)le anci:
a) occupied by a tenant; or
b} you had a signed, written renlai
agreement lortho rental unit, in which
case this protection begins on ihn
occupancy data speo|iiod in the rental
agreement or

c) fire rental unit was occupied by a tenant
within 50 days ol li'lo loan a not was in tire
process ol being re novaled.

Wa do not cover loss or expense due lathe
cancellation of a lease or agreement

ito deduci|olo applies to this protection

Seciion iAddilional Proler:l'fon

it

Debris immoral

We witt pay reasonable expenses you incur
to remove debris of covered properlyl
damaged by a ross we cover li the loss to
tire covered properly ano‘ the cosl of debris
removaiaro more lhonlire Limit Gl Linl)|lity
shown on the l’oiioy [Joo|arntions for lile
covered propeerl wa wilipuy up lo an
additional S%ol that limil ior debris
removal

Traos. Slmrhs. Finots sort towns

We will nay no to orr additional 5% oi tire Lirn|t
Ui‘ i_iao`ltity shown on ttll=. Po|icy Der.'luratiorrs
under Colroraoe .it-D.lreit|og Prolecliuo ior
loosstc)lrees1 shrul)s. giants and towns ne rha
address o£ the residence promisos. 'Wo wlii
not pay room than $505 for any one tree,
shrrro, or plant, including expenses incurred
for removing debris this coverage applies
only to direct physical loss caused by tire or
llohtn|ng, explosion riot orcivii colnmoiioo,
aircfall, vehicles. lirelror collapse of a
building structure or any pan ol o bonding
slrut:luro.

Wa will pay up lo 3500 ior' reasonable
expenses you locur ¥or the removal oz debris
or irons at the address ot los residence
premises for direct physical foss caused try
wlnctslonn, hatl. or wrrioht ol loe. snow or
sieei. Tt\e tal|eo tree must have caused
damage io properly covered under Coversgo
A-tlwolllng hamilton or Boveraue lt -
l`.\l!ler Structuros Proloolton.

iti'ado not cover lrees, strruos, planls, or
iawns grown for business ourooses.

Paoo 14

 

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Emernoncy Renrovat n! Prop arty

We will pay tor sudden end accidental direct
ptzysicoi ipsa recovered property horn any
cause wlch removed from the residence
practices because ot danger from a loss iue
cover, Proteciicn is limited in a 30 day
period from the dale ot removal l`hls
protection does nor increase the limit cl
liabilirythat applies to the covered propeny.

tire lleparrrreeni onerous

We will pay up lo $59£) ior service charges
marie by tire departments called to protect
your property irorn a loss we covcr:rt the
residence premises lilo deductible apoiies
to this protection

Tenrpnrary Repeira ritter n Loss

Wn will reimburse you up to $5.000 lot tire
reasonable and necessary cost you incur for
temporary repairs lo protect covered
property lrom lurihor inertinent covered loss
loilowlng a toes we coven This coverage
does not increase tim llrnil ol liability
applying to the property being repaired

Arson Rewarri

Wo will pay up to $5.000 for interpretan
leading to an arson conviction in connection
with a tire loss to pmpa rly covered under
Seciion lot luis policy The 35,0{}0 limit
annile regardless ot the number ot persons
providing information

Coliapse

We will cover at the residence premises:

a) the entire collapse ot a covered building
structura;

b) the entire coliapse or part of a covered
building structure; and

cl direct physical toes to covered properly
caused try a) or irl ahovc.

For coverage to apply. the co§lanse oi a
holidan structure speciiied in al or b) above
must be a sudden and accidental direct
physical loss caused try one or more ct the
idinvrinp:

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al a loss we cover under Ser:ilon i.
coverage B»~Pcrsonal Preperly
Protect§oc;

ill Weiolrt ot pomona animate outripment or
cnnlnrtis.`

ct weight ot rain ur snow which collects on a
rooi;

di detective methods or materials used in
construction repair. remodeling or
renovallon. but only lt the collapse occurs
in the course ot seen construction repair.
remodeir`ng orrenovailon,

Wn win not cover lite collapse ot underground
Soptic tanks fuel oiitanlrs, nose poois, cisterne
or similar structuresr

hose loan awning, fence, pat|o, oecit.

paveme nr, swimming pontl tonnrtariunt

retaining wall bulkhead pier wharf or dock ls

not included unless the loss is a direct result
of the co|iapsc ot a huiidlnp structure or pari
ot a building structure that is a sudden and
accidental direct physical loss caused by one
or more ot tire ioi|cwlng:

at a lose we cover under Seclion l,
Coverace C ~ Personal t’roperi y
Protootlnn;

b} weight ct persons. animals, equipment or
contents weight et rain orsrrow which
collects on a rooi;

c} detective methods ormateria|s used in
constmctin:r. repair, remodeling or
renovation out cary lt the collapse occurs
ln the course ot such construction repalr,
remodeling or rcno\ration.

Geliapso as referenced herein meanstlto
covered building structure or part ot the
covered building structure has actually ta!len
down or failed into pieces unexpectedly and
irrelanlaneous|yl ll does nol include selilinp,
oraslrlnp. shrinking bnlglrig. expansion
eagping, orbowinr}. Furihermorc‘ coilapse
does nut inc§ude or mean substantial structural
impairment or imminent coilapse.

title protection does not change the limit of
liability applying to the covered propertyl

9an 15

 

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B. tend

il a sudden and accidental direct physicai
loss results in both o covered loss to yonr d‘,-
ri'.vetiirrg, oiirertnsn lite breakage ot glass or

safety glazing matsriat. and a loss et land

stahii§ty. we will pay up to tii{i.tidd for repair

costs associated with inn |and. Tnis includes

the costs required to roplace. rebuild ' e)
stabilize or otherwise restore tire land

necessary to support that pari di your

divetilnu sustaining thc covered |css, , s il

the Lnsses We Dn Nni Cr.rver tinder
L`nverages A and El reference to north
movement does not apply to the tons ot land
stabi|tly provided under this Addit|onal
Prdtemion,

Sscs‘r'on !Corm‘r`rions

i,

Dednclihie

via will pay when a covered tons exceeds tle
deductible shown on the Policy tieclarotinns.
Ws will then pay only the excess amount
unless we have indicated otherwise in this
policy

insurable interest ann Our ilablilly

in the event ot a colored ioss, run will nol pay
tor more than an insured parsons insurable
interest in tire property covered nor moss than
the amount ol coverage altorréed by this policy

nl

V.lirai ‘£ol.l !i'iusl Do Nlor z loss

in iho event oi a loss to any property that

may bn covered try this policy, you mosl:

a} promptly give us or our agent noticc.
Ficport any liss involving thoit.
vandalism or ourgiaryto the police as
soon as possible

l)} protect tire property trom tuitilar Ioss.
lv‘nke any reasonable repairs
necessary to protect l:. Kesp an
accurate record of any repair
expenses

cl separate damaged tronr undamaged
personal property Give irs 3 detailed
list ct the damaged destroyed or stolen
propeny, showing the ouantz‘ty, coel.

actual cash value and the amount ot

ioer claimed

give ns al|acconnlinp records h|iis,

invoices and other vouchersl or

certified copies winch nrc may
reasonably request iu nx;rnrinc, and
permit us to make copies

produce records supporting any claim

tnr ipso of lair rental income as alton

as wa reasonably re nnire.

ss otten as we reasonably rsquire:

il show irs inn damaged property

2) at our roonnst, submit to
examinations under onlh,
separately and apart lrom any
oihnr' person defined as von or
insured person and sign a
transcript nl the sarne.

3) produce representationsl
cmpioycos. members rri the
insureds household or others to
the extent it is within too insured
persons power to do so; and

4) cooperate with us in tire
investigation orseitlernenl of
the claim including providing
nvailabre information concerning
tenants and

within oil days after the loss. give us a

signnd\ sworn prooi ot inn loss. this

statement must include thc loitowlng
inlormailon;

ii tire daie, tinn, location and cause of
the ioss;

?i the interest insured persons and
others have in the property
including any encumbrances

3) the actua! cash value and amount el
loss lot each item damaged
destroyed or stotnrr;

»t) any oliver insurance that may cnvsr
tire inss;

5) any changes in titte, use.
occupancy or possession ot drs
property that have occurred during
tire policy pciiod:

6) al our reouest, tile specifications ot

any damaged building structure or
other strociur o.

Page iii

 

 

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Wc have no duty lo provide coverage under
this section d yoe. an insured person ora
leitro$clilallvc oi either fait in comply wiiii
items a) through gi n boyd and this taiiure to
comply is preindictal to os.

our settlement opzioru» bi
in the event di a covered |ons, we have ina
option io:
ai ropaii'. ieiiuild or replace allot any
pari ot tire damaged destroyed cr
Sioleo covered property with propo ny
ot like kind and qua lily within a
reasonable iiirio; or

iii pay tor ali orany parl'oi tito darriapod.
destroyed orsioéen property as described
in dominion 5 How Wc Pey Fur a Loss.

Wit.lzln 30 days after ind receive your signed
sworn piodi ot locs. we will notify you nl the
option or options we intend to excictsc.

rlle Ws Pay For a Lusa

tinder coverage lt-dwotilnp Proteetion,

Covnrane B »~tlnor$iruetores Protactlori and

coverage C ~Por:onai Propmy' Protei.~tion,

payrnont lor covered lose will rio by unitl or 53
more of inn io§io\yirip methods

a) Speclat Payrneot. itt our option we may
make payment ior a adverted loss betnre
you ropalr. reou|id or replace the
damaged destroyed or stolen property
l!:

i) inc wnote amount di loss for
properly covered under €ovorape tt
-Dwolilnp Protociion and
Coverage B-»tlher Stru stores
Protaciioe. without deduction lor
depreciation is tons titan $?_,506
and the property is nol exciddcd
from lite Biiltding Siructure
iicimbuisorneni provision or;

2) tire whole amount ot loss ior
property covered under Covarage
C-Porsonal Pmpeity Prdtoctionl
without deduction for depreciation
is lens than $2.5{|0, your Pollcy

l')eciarrilions shows that lite
Persona| Property lteinthursornent
provision npplios. outline proporty
is not excluded from lite Persona|
Proporty Ro§rril)msenw.oi provision

Adtua| i;ash Vaioe. li you do not repair
or replace lite damaged destroyed or
stoien propertyl payment will be on an
acttrai cash value basisA Titis means
there may lie a deduction ior
denrociaiion. Paymenl will nut exceed
lite ijiiilt Oi liability shown nn the
Policy Declaralions tor ina coverage
that appiies to inc danrapeii,
destroyed or stolen proporty,
mpardiess oi the number cl items
involved in the loss,

it applicable. you may make claimfor
additional payment as described in
paragraph ciand paragraph d) below ii
you repair or replace lite deniapcij,
destroyed or stolen covered property
within isn days ot ina actual cash vatno
payment

Boiltitnp Slructure itelmndtoenieol. linder
Bo\iorandA-Bwoillnp Proiacilon and
towage 8 ~ Uther Sirticiot'es
Prolection. wa will malin additional
payment to reimburse you lor cost in
excess of actuai cash voice ii you repalr,
rebuild or replace damaged destroyed or
staten covered property within tBii days
ot the actual cash value payment this
additional payment incindes tire
reasonabie and necessary expense for
treatment or removaiau<i disposal of
contaminanis. toxins or pollutants as
iequrred in complete repair or
rcptaccrnoni of that part of a building
structure damaged try a covered ioss.

this additional payment shall nol inctude
anyl amounts which may bo paid or
payable under Sor:i|on l tidndliions ~
Meid_ Fungus, W¢i list and Dry Rot
mediation as a tJtrect Hasiiit di a
Coverad Wator Loss, and shaft not tie
Papa 17

 

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payable ldf any losses excluded ln
Seetlon i-Yeur Proparly. under Lostrea
tila lie riot Cover Unrier coverages lt and
H, item C.

Bulidlrtp Slrocturo Heirnburserre nl w§ll nut
exceed the smallest ul tire iollrn-ring
amounts

ll the zep|acemerrl cost ol the rlan[s) ot
tire building structurels) tor
equivalent construction ior the same
use on the came premises;

21 tire amount actually earl necessarily
Spent lo repair or replace the
damaged building §ructurdfsl with
equivalent construction ior the same
tree entire same premises or

3] the Llrnlt t)l liability applicable to lite
building structurc{slas snowden
the Pc|lcv Dec|aratims 1or €overape
A»~D\vollinp Protaeilon oruovereee
8 ~ill'ter Slurr:tures Prolectiorrt
regardless cl tire number di building
structures and structures other than
building structures involved in the
looe.

ityoe replace the damaged building
stren'low(si at an address other than
shown on the Po!icy Declaratione through
ccn$inrction nl a new structure or
purchase cl err existing structure such
replacement will not increase tire annum
payable under Buildlnn Strvcture
Hclm|)ursement described above the
amount payable under Brrlldlng Siructure
iteinrl)ursement described above does not
include the value 01 any tend associated
with tire replacement structure(st.

Bu§lrurrg Slructure Fteimt)urserne nl
payment will tro limited to tire dllierenee
between any actuai cash value payment
marie lot tire covered lose to building
structures and tire smallest cl il, Ql, or3)
above.

Builtlirrg Structure iieimbursernent will not
anDlY to;

il properly covered under Coverage C-
Persoaat Pfepart‘,r Protectlon:

25 property covered under Coueroge § -
Uitcer Sirur:lures Protecilnn that ls
not a building structure

iii rva|l-towa|l carpaliug‘ ceramic or
vinyl hour coverings. hardwood
ticors, buill‘in appliances. lenaas,
awninps and outdoor antennas
whether ernst lastean tea building
struciuta; ur

fit |anti.

fayment under a, o, or o above will not include
aov increased cost due to the enforcement ot
building codee. ordinances or laws regulating
the cnlrSlruclicn_. reconstruction r'nainlt:nances
repairl relocation or demolition cl building
structures or other structures.

d) Personai Propcrtv Rcirnt)utsement.
When tire Polll:y Deoiarations shows
thatthe Personat Property
Reirnl>ursement provision applies under
Coverage 6 -Fenzcnal Propertv
Pmtection. we will rrralre additional
payment lo reimburse you lot cust in
excess ot actual cash value ti you
repalr‘ rebuild or replace damaged
destroyed or stolen covered personai
property within tBlJ days el the actual
cash value payment

Personai Property Reimtrursenrent
deterrent witt not exceed the smallest of
the following amonnls:

13 the amount actually and
necessarily spent to repair or
replace the property with similar
properly ot title kind and qualiiy;

2} the cost cl repair orrestoraticn: or

33 the l_imit 01 Lia hititv shown on
the Foir'cy Declaratiorrs lor
noverage C -aPersomiProgortv
Frotoctinn.

Personal Proportv Reimbtiruernent will
ha limited tc tire dlllerence between
any actuai cash value payment made
lcr tire covered loss le parsonai
Fage tit

 

 

property end the amerinet pt i}, ?t, or
S]alioye.

Persona| Preperty Reimhursement Will

riot appiyto:

il property insured under Ceyereoa ii
-Dweiilng Pretectr`on or Coyerane
B mlittler Strurturos
Proioellon;

2] aei|ones, fine arte, paintings,
siatoary aan similar articles t'rtriaii.
ny their inherent nature cannot be
replaced

ill articles whose age or history
contribute substantially to their
valne. Thie included bet is not
limited te, mornorat)i|iav erroneous
and collectoris ilerrrs;

4} properly that was obsolete or
unusabietorlhe originally
intended purpose because ot age
or condition prior to the |oss; or

5) Wall~to-wa|icarpel§ng.

6. her Settlamorti ot l.oss

Wo will settle any covered loss with you unless
some other person or entity is named in the
poiiey. We will settle within 69 days alter the
amount ot loss is linaliy determined this
amount my he determined ny an agreerr)eni
between you and es. an appraisal award or by
a court judgment

flppralsai .
ilyou and we tail to agree entire amount of
loss, either party may make written demand
foran appraisal Upon such demand each
party hurst select a competent and impartial
appraiser and noliiytiie other of the
appraisers identity within 20 days alter the
demand ls received The appraisers will select
a competent and lmpa’tiai umpire little
appraisers are unable to agree noon an umpire
within tit dath. you orer can astra judge ole
court of record in the state where i|w
residence premises is located to select an
umpire.

ihe appraisers shall then determine the
amount ot loss, stating separately the actual

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trash value and the amount ot less to each
item ti the appraisers submit a written
report al an agreement to you and to us. the
annual agreed upon shall be lite amount of
lose li they cannot agree they will submit
their ditiereei:es to the urnplre. ll written
award agreed upon ny the appraisers oran
appreiserand tire umpire will determine the
amount ot toss.

Ear.h party will pay the appraiser it chooses
and equally hear expenses for the empire
and all other appraisal expenses.

mentioned Property

We are not oatigaied to accept any property
or responsibility for any property aliandoned
try an insured person

Morlgagoe

A covered loss will be payable to the
mortgagees named on the Poilcy
lieelarations to the extent oi their interest
and in the order el precedence All
provisions el Seetion i nl this policy appr to
these mongapeee

Wa wlll:

al protect the mortgagees interest in a
covered entitling structure in lite event
of an increase in hazard intentional or
criminal acre oi. or direoled hy, an
insured person failure by any insured
person to take all reasonable steps to
save and preserve property alter a less,
a change in ownershipl or foreclosure ii
the mortgagee has no trnow|erige al
these eunrlttions; and

b) give the mortgagee at Ieasl 10 days
notice ii we cancel this poiicy.

The mortgagee will:

a} furnish proof et tops within 60 days
alter notice ol the loss lien inserted
person iaiis todo su'.

ti) pay upon demand any premium due
if an insured person laiis to do so;

c} notify us lnwrltieg ot any change ot
ownership or occupancy or any

P`eye 19

 

 

CaS€ 2217-CV-OOJ_27-S|\/|V-LA|\/|

increase in hazard of which thc
mortgagee ties knowledge:

di give tie lite mortgagees right cl
recovery against any party liable for
toss; and

e) after a loee. and at our cpt|on, permit us
to satisfy the mortgage requirements
end receive lott transfer el the mortgage

lies mortgagee interest provision shall
apply to a ny trustee loss payee or other
secured pcrty.

tt]t Persnisstcn thanth to ¥ou
at Thc residence premises may be vacant
or unoccupiee tor any tang-lit pt timel
except where a time limit is indicated in
this policy for spocit tc porits, n building
structure render construction is not
considered vacant or unoccupied

iii ¥ou may make alterniionst additions
or repairs, ann you may complete
structures under construction

tt. t]ur Hiohts to iior:over i’ayineni
when we pay for any |eee, an insured
person'e rights to recover l rom anyone else
bocorrie ours op lo tire amount we have
pairi. An insured person most protect those
rights end hcip irc enlorce tttcm,

Yoir may waive your rights to recover
against another person for toss involving lite
property covered by this policy. Thle waiver
most be in writing prior to the date oi tocs,

12. Ctur nghis to attain Saivzge
We have the option to take ali or env part of
the damaged or destroyed covered property
upon replacement try us or payment ot the
agreed crapnraised value

Wc wili nctiiy you ct our intent to exercise
this option within 30 days atterwe receive
your cigneri, sworn proch el |oes.

totten we settle any toes caused oythei‘t or
disappearanced we have the right to obtain

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13.

14.

15.

16,

all or part ot any progeny which may tie
recovered An insured person must protect
this right and inlorm us ol any property
recovered i.'~.ie witt intonn you of nor intent
to exercise this right within 10 days ol your
notice ot recovery to iis.

nation Agab'tst Us

itlo one may bring an action against us in any

way related tuttle existence or amount ot

coverage or lite amount of loss ler which

coverage is soonht. under a coverage to which

Sectioo t€oed|ilons appiiesr nnless;

e) there has been fult corr\piiaocc with ali
policy terms: and

bi the action is commenced within one year
ailor tire inception ot loss or<iarnagc.

Less to a Fatr or Set

lt there is a covered tries too palror sel, We

may:

at repair or replace any part or ina pair or
cat to restore it to itc actual cash virtue
betore the |oss; or

iii pay the oitiercnce between the ncttrai
cash vaqu oi inc pair or set betorc and
atior tire rossi

Eiaes molaccmont

Paymeni for locle covered glass includes the
cost ct using safely placing materials when
required by law.

ito Benetit to Batlee

Thts insurance will not beneiit any person or
organization who may he caring for or
handling your nrcpertyinr a tea.

. Oihor insurance

ii both this insurance and other insurance
apply tca |oss. we witt pnyttrc proportionate
amount that this insurance bears to the total
amount ot all applicants insurance chever,
initio event cf a covered ross by theft‘ this
insurance strait be excess overeriy other
insurance that covers inns i)y thett.

. Proeertv insurance adjustment

lr\lhen the Poticy Deciarationc indicateslnat tne
Propeny insurance ndluctmeni Condiiion
Page 20

 

 

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applies, you agree lltai. al each policy

anniversary we may increase the rlmil or

|iairilityshetyn nn lite Pnitcy flectaralinns for

Covnragc A- Dweiltrrg Prolectlorr in retreat

olin nt ihr', lnilowirig:

al literate ot change in tire index identilied
in the lmporianl iayrnerrt and lint/crady
inlorrnation section ot the Poiicy
Daclarallons. Tira limit of tial)iiily lcr
€otrnrage A»Dwaitlng Proier:lion for the
succeeding nrcrniurrs period will he
determined by changing tire existing limit
in proportion ro the change in ina index
between tha lime the existing limit was
established and lite lime the change is
maric, ihc resulting amount tyii| irc
rounded to the nearest $lOl}O; or

b) the minimum amount ol insurance
coverage we are wllting tn issue for tire
succeeding premium pc rioti under
Cu\rerage A~chitirrg Proter:tlon lot
your dwelling nan other property we
cover under r;ouerage !t-Dvreiflnn
Prnleciion,

Any adjustment in tire iimii oi liability for
Cotrrsruge A~Uweiiing Pmtection will result lrr
an adjustment in thc iiinit ct liabililyror
Coveraqn ii -£liher Stru stores Prnrer:tlon aan
neumann i: »~¥’ersonat i’mparly Prclection in
accordance with our manual ol lio|es and
iialus.

Any adjustment in premium resistian from the
appiication o§this condition will irc made
based nn premium rates ir\ usa by us at the
time a change in iirniis is macle.

Wo will not reduce the limit ci liab§iilyshown
orr inn Puiicy Det:iaraiions without your
consan ‘ron agree that it is your
responsibilitth ensure that each or the limits
of liability shown on the l’oiicy Dcciaratiuns arc
appropriate for your insurance needs. llyou
Want lo increase or trauma se any 01 the limits
of liability shown on the Poiicy Declarations.
you must contact us to request such a alarcon

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19. hiniri, Ftirrgus, Wct Rutand Dry Rol
immediath as a Diract iiosull cl a Covcre€l
Wator Luss
in tire event of a coveer water loss under
coverage n-Dwalilng ?roractlnn, coverage
8 -trlhnr Slruoturos Pruteciiorr or Covarar_re t;
- Personar Property Proteclion. we will pay
unto $5,050 ior mold longus, wet rot or dry
rot remediation

Han\ettiallnn means the reasonable and
necessary ircatmanr, removal or disposai oi
mold, iungus, writ mt or dry rolas required in
complete repairer replaccmrzni ol prcpr»,r'lywe
cover under sewage A-t}wel|ing
Frnleclron. Govnrage B -£lher$lructuras
Prniaclton or Errrrorar;e C --F'ersnnal Properiy
Protacilon damaged by a covered water tnsst
Rcmsrliatlun aisn induces any invosligallcn or
testing to detect, measure orovaluate mold
iungus. WBi rul nrcer rol.

this sims not |ncreasu tire limits ct liability
under €n\raraga A»~ch|lino Frntection.
Ccrreraqa B-t}ther Sirur:tures Proier:tion or
Covaraoa C-Persona| Prn;zcrry F’rcriectinr\.

SECTIUN Il~» LMBIU¥Y PHD?'EGTIUN AND
P»‘?EM!S£S M£DiGAL PRBTEG T!UN

t'.'n versus X
Uarrlrlry Frarecriorr

losses Wa driver linder fictiong X:

Sublecl to the terrrc. conditions and limitations or
this policy we will pay compensatory damages
which an insured person necornes legally
ob!lgated in pay because or bodily lniury.
personal ln}ury. or properly damage arising from
a covered occurrence We vrlii not pay any
punitive cr exemn£ary riarnagos. lines or ncnai!ios.

we may investigate or settle any claim or suit lur

covered damages against an lnsursd person ll an
insured person is sued for these damages, we will
provide a defense wiilrcounsei ul nor oholcc. oven

Panc 21

 

 

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ii the allegations are prr:»nndlesal ialse nr
iravrlnlent. trw are not obligated to defend any suit
er navany claim nriudgrnnni after we have
exhausted ear lirnli of llanliitv.

i_ossas Wa Un it'oi (.`al'rrr finder reverses )(.'

t. Wo do not cover hole lnlun,'. personal
lnir.trgr, er properly damage intended irv. or
which may reasonably be expected le result
from lite inlentinnel or criminal sets or
omissions oi, an insured person title
exclusion applies even il;
at an insured person lacks the mental

capacity to govern his er her cnnrlnct;

11) such bodily !n}trry, personal injury or
properly damage is el a different kind er
degree than intended or reasonal)|;.r
expeciacl; or

cl such node inierv. personal intern er
property damage is sustained by a
dilterent person titan intended or
reasonably expedite d.

lnls exclusion applies regardless el whether
an insured person is actually citar|ed with
or convicted oi. a crime

2. Wn rio not cover bodily intern or personal
iniury to an insured person

3. into de net cover properly stamps to angr.
at property owned by an insured parson;
in property owned by others which an
insured person agreed to insure er for
which a n lnsoratl person agreed to ne
responslb|e; or

o) property rented to. occupied or used
hy, er in tile care el an insured person

4. tire do net cover bodily injury or personal
ln|ury to any person eligible to receive
henniiis required to be provided er
voluntarily provided ny an insured person
end er any workers compensation law,
non-occupational disability |aw.
occupational disease |aw, disabilitylzeneiits
law. or any other similar lawn

We ne not cover bodily |n|ery, personal lniury
or property damage arising out ut ina
ownershin, maintenance usc. noonpancy.
renting loaning, enliusltno, loading or
unloading el any.~
a) aircrait;
b) watercraft or
e) motorized land vehicle or trailer other
than lawn and garden implements
under ¢ll) motor horsepower.

We do net cover bodily tn|ttry. personal injury
or property damage arising out et tire
negligent supervision by an insured person el
any person

title do not cover any tiabil|iylrnpmed on any

insured person by any governmental

authority arising front the ownership

maintenance use. e»r:euoanevd renting

loenlng. ertiresting, loading or unloading el

arty'.

a) aircral't:

ti) watercraii,‘ or

c) rnnrnrized land vehicle or trailer other
litan lawn and garden implements
under ali motor irorsnpewer.

We de net cover bodily lnlorv or personal

injury which results in any manner trent any

type el vapors. lemes, acids. toxic chemicais,

toxic gassos\ toxic |iqrrlds, toxic solids1 waste

rrzaten`alsl irrilants. contaminants or

pollutants lnciurling. bel not ilmited to:

a) lead in any iorm;

h) asbestos in` any inrm;

ct ration in any torrn; er

di oil, lust oii, kerosene, liquid propane or
gasoline intended lnr. or lrom. a storage
tank located at the residence premises

l'lowever. we rio cover bodily inirrn,l which
results item tire sudden and accidental
discharge rnspersat. release er escape oi
carbon monoxide imm a heating system an
appliance ior heating tvaier, ora household
appliance located al the residence premises

life do nat cover properly damage
consisting of er caused by anytvne of
Page 22

 

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vaoom. iomo_c, acida. toxic ci:cnricale,

toxic gassos, toxic |iqoids‘ toxic solids.

waste materiais, irritanis. conlarrrirronte; or

poliutanisl trrcturtlno, but not |lnrtieo io:

a} lead in any iorrrr;

bd asbestos in any torrrr;

c> moon in any iorrn; or

di oil, tur:§ oil. kerosene liquid propane or
gasoline intended tort or ironi, a storage
tank iocaier.l cl the residence promisier

ill tire rio not cover tray tiabitiry imported upon any
insured person try any oovcrnmontai authority
for bodily injury or personat injury which
results in any manner trorrr, or for property
damage consisting ot or caused oy, any type
ot vaporsr trimes, acids, toxic cnarntrats, toxic
gosses, toxic iiooltts, toxic solids, waste
materia|s. irritaots, cootac'rinaols, or
poitulaots, toc|ortlrtg, nut not timiieri to:

a} ioao in any i`orrn;

i)) asbestos 'rn anytorrn;

c) ration in any torrn; or

di oi|. fuel o||. kerosena, tiquicl propane or
oasoiine intended ior. or irom, o storage
took located at tire avoidance prenrtsos.

tt. Wo rio not cover any loss, noel or expense

arising oct of any rcqoest, ocn\'tno, or

order that any insured person test ior.

monitor. olcao tro, remove. contain. trcat.

detoxliy, or neutralize or in any way

respond to or access tire effects ot any

type ot vooors. turnest actdc, toxic

ctrernicals. toxic gasses, toxic ilouids. toxic

so|irts, waste materials, irritants.

contaminants. or ooiiutants, toctudtng. but

not limited to:

a) lead in any to£m;

tit asbestos in any iorm;

c) ration in any form'. or

di oii, tool oli. kerosenc. iiquld propane or
gasoline intended ior, or irorn. a storage
took located at the residence promiscs.

121 Wo donor cover hortin inirm;\ personal injury
or property damage arising out ot tire
rendering oi, or failure to rorrdcr. orotessiona|
services hyatt insured person

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`i3.

t5.

it`).

20.

We rio not cover bodily loiury, personal
iniury or progeny iteman arising out or tire
past Or present business activities of an
insured person

. Wc do riot cover bodily injury personal in§:ny

or property damage arising out ot any
premises; other titan the residence premises,
ownedl rented or cotrtrottert by an losortrtt
carson

Wodo not cover tiortily ln]ury. personal ln§ary
cr propedy damage arising trnrn any contract
or agreement. whether written moral

We do not cover bodily iniury. personal injury
or property damage r'a used by war or wantire
acts. incturilng. but not limited to. tnsurrcction.
rebellion or revolution

. ‘Wa rio riot cover aotlily lniury, persooai

injury or property damage lor which art
insured person may too trolrl thatly tiat)lc
arising out of lite saie, distzit)trtloo.
manuiacturo. servica, usc or gift or any
atcotrotic bevera;;e(a) or any controlled or
tltegal enlistartcoe.

. we do not cover amount irriury caused try a

violation ot a tow or ordinance comrnitted;

a} ny an insured parsurr; or

iii with an insured pci‘son‘s knowledge or
consent

. tito do not cover personal in|rrry to any person

ii ina personal injury arisos irom that persons
engrloyn'ont byan insured person

Wo do not cover personal injury adsan from

the publication ot libelous or oetamotory

remarks orl.rom the utterance ol slanderous or

defamatory romarlrs:

at litho initial prrbtication or utterance ct
tire same or similar materiot try or on
catrett oi an insured person occurred
priorto tire attractive date ot into
insurance

Paga 23

 

 

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b) maris try oral the direction oi en insured
person who awareness st the ialsity cl
such remarks

2t. 'nio de holdover personal lnjury arising
lrom itteoal discrimination

22. Wo do not cover beatty iniory, personal injury
or property damage whisn, in whole or in part,
arises pitt oi. is aggravated by or results from
lnotd. iungos. wet ret. dry rotor bacteria

234 Wo rio not cover any liability imposed upon any
insured person try any poverrlmootai authority
for bodily iotuly, personal injury or property
damage wleich. in whole or tn part. arises out
cit is aggravated by orrcsoits front mold,
ionpus, wet rot. dry rot or bacteria

Boveragd Y
Frenifsss ModlcaiPmtsstl`on

tesst tva cover Uedsr beverage Y:

v.o will pay tire reasonable expenses incurred for
necessary medical sorgicsi. x-ray and dental
ssrytces; anrbu|aoce. hospitat, licensed nursing
and funeral sem|ces; and prostboiic devicesl eye
glasses hearing aids, and pharmaceuticals
these expenses must he incurred and the
services periorzried within three years from the
date ot an occurrence resultan in bodily tntuty
covered ny this part di lite policy

Paymsnl will tie made on|yit hodtty io§uzy;

1. arises from a condition on the residence
promises or immediately ad$oinirto ways;or

2_ arises from an occurrence torwhiclt
indemnl`iication ts provided under wiretaps
it-Ltahilll'y Frntscttorl of this poseyl

losses We lie Noi i,'rzirsr linder coverage Y.'

1. into do not cover any bodily intent intended tila
or which may reasonably he expected to result
from the intentional or criminal acts or
omissions oi, an lnsurod person

this emission app¥ies even il:

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at an insured person lacks tire memo
capacity to govern his er net conduct

bt such hod|lyioiury is of a different kind
or degree than intended or reasonably
expected or

03 such trodiiy injury ls sustained by a
tittlerent person than intended or
reasonably expected

?his exclusion applies regardless of whether
an insured person is actually charged v.»itli, or
convicted oi, a crime

late do opt cover bodily injury to any person
eligible to receive heneiits required to be
provided or yelontariiy provided try an insured
person under any workers compensation |aw.
non-occupationa§ disabiiitylaw, occupational
disease |aw. disability neneiits taw, er any
other similar taw.

We do not cover hodtty loilny arising dot ot

the ownership maintenance use.

occupancy rentinp, ioantng. ehtruslz`ng,

loading or unloading oiany:

a} aircratt;

b} watercraft or

c) motorized land vehicle or traltorelher
than lawn and garden implements
under 40 motor horsepowert

We depot cover bodily lolury arising out or
the negligent supervision by an insured
person ot any person

We do not cover any ticle rotary to an
insured para on.

We do not cover bodily iniury which results

irl any manner from any type ot yapors,

fumes acids. toxic chemicals toxic gassee.

toxic liquids, toxic solids, waste materialsl

trrltants, coins minants. or po|iutants,

includingf tim not limited to:

at lead in anyicrrn:

t)} asbestos in any ferm;

o`z ration in any iorm', or

d} oll. foot oil, kerosene, §louid propane or
gasoline intended ior, or iznm, a storage
tank located at the residence premises

S’ego 24

 

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liowevor.wn do cover bodily lowry which
results tronr the sudden and accidental
dischargel disporsai, release or escape ot
carbon monoxide iroin a heating systrznt, an
appliaoco ior beating waler, ora household
appliance located al the residence premises

]l. Wo do not cover bodily injury arising out of tila
rendering ni. or lailura 20 rendar, proiassional
services by an insured person

fl. We do not cover bodily injury to any purport
arising out nl a professional service being
conducted on the residence promises by
any person

9. We rio not cover bodily injury caused by war
or wartlke acls, including but not limited io,
lnsorrecilon. rebellion or revolution

tU. Wa cio not cover bodily injury to any person lt
the bodily injury arises front that persons
employment by an insured person

l1. We do not cover bodily irriury:
al roa lnnanl ll lliu bodily rotary occurs on
the part ol thc residence premises rented
from art insured psrsun: or
b) to an eliiployee ot a tenant §l tire bodily
lowry arises out or employment by the
ienan£.

12. we do not cover bodily harry many person
engaged in.‘
al maintenance or repair o| the residence
pramlses;
bi alteration demolition or new
construction at the residence premised

13. Wa do not cover bodily lntury arising out or
the sala. distribution manufacturel aervice.
use or pill cl a ny alcoholic beveragels] or
any controlled or illegal subutances.

ld. Wa no not cover bodily injury or personal
lniury which, intimate or in part. arises out af.
is aggravated by or rosuils from mold lrlnoos,
wet rol. dry rol or baetaria,

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Seatr`ori ll - ii ddiiiorral Pl'dler:ii'on

Wa will pay, in addition to tire applicable limits ot
lial)lliiy:

E.

£f|nlm Expeose

Wa will pay:

al alloosls walnr.orin thc settlement or
any claim orlhe rlelenar: of any suit
against an insured porson;

bi interest accmlng on damages awarded
ontllsur.b time as we have paid_ iorma|ly
olierad, or deposited in court the
amount for which we are liable under
tliis policyl interest will be paid only on
damages which do not exceed our
limits ol liabilily:

ct premiums on bonds required in any
suitors dalencl: we will not pay bond
promlurris in an amount that is more
than our Calrerape X-»Llaliiliry
Prn!ecllrm limit al liability We have
no obligation to apply ior or lurnlsh
bonds;

d] tip lo $150 per day ior loss ol wages
and salary when we ask you to altend
trials and nearlngs;

o) any olber'raasonable expenses
incurred by an insured person at sur
requestl

Emargency Flrsl ibid 7

We wlli pay reasonable expenses incurred by
an insured person lor first aid to other
persons al the limit olan occurrence
involving bodily ln§ury covered sindor this
policy

Seetion ii Condi!ions

1.

Wnlt Ynu Mun Do Nier a loss
lo the event of bodily injury personal injury or
properly damage, you must do the lo|iowlng:
al promptly nollly us or our agent stallng:
il your name and policy number;
2} the data, the place and the
circumstances nl the ioss;
31 inn name and address oianyooe
who might have a claim against
an insured persorl;

Paoa 25

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4) the names and addresses ot any
witnesses
nl Prornptl_v send us any legal papers
relating to lite loss
cl tit our requested insured nelson will:

t) cooperate with ne and assist us in
any matter concerning a claim or
suil;

2) help us enforce any right of
recovery aneinsl any person or
organization who maybe liable to
an insured person;

3) attend any hearing or trial; 5.

di assist us by collecting end giving
evidence and obtaining wilnesses.

Any insured person will not voluntarily pay any

money. essorneany nbilgatlons, or incur any B.

expense ollterthan lor inst aid in others at
inc lirr‘,c nl tire loss as provided Inr in this
poiic_v.

2 l*ihal co lnltrred Parcoo Musl Do ~~
£overage Y-l’rerntsns Medicai Prolection
ll someone is lnlored, that person or someone

acting lot inst person most rio the tollo.o'ing: 7_

el Promptly give ns written proof ot too
loss. lt we request thls must be done
tnth oatll.

bi Give its written authorization to
obtain copies ol all medical records
and reports.

cl Permit doctors we solectto examine tire
injured person as often as we may
reasonably re ooire.

3. Dur Paymerli ot Loss »~Coverago ¥-~
Pt'emises ll'icdlcel Prnlec!ion
th may pay the ln]ured person or the provider
ot the medical services Payrnent under this
coverage is not en admission ct ltal)l|lty by ns
or an insured person

¢t. dnr limits nl Liaisiiity .
Renardlees oi the monitor of insured
persons, injured persons` ciairns, ciaimants
or policies lnvo|\red, our total iiatrility under
Uotrerage X-tlabltity Protez:tlon §or
damages resultan from one occurrence will

not exceed the Lz'mtl tjtt Liebilriy shown on
the Policy Deciaralionsi nil boditv tnjury,
personal lowryt end properly damage
resulting tront continuous or repeated
exposure to inc eaton general conditions is
considered the result ot one occurrencel
Orrr total liability trader taveran Y-Prorntses
Medical Protecllno int all medical expenses
payable lot bodily injury to anyone person
shall not exceed the each person llmlt Dt
iiabiiity shown on the Poticy DectatotloosA

Bar\ltroplcv

We are nol relieved di atty obligation under
this policy because cline bankruptcy or
insoivency ot an insured person

nor morris lo narrower Paymcnt-Govorrroe
x -*Ltahttlt\r Protaction

When we cay any loss, an insured person's
right to recover tronranvone else common
ours op to the amount we nave paid nn
insured person must protect these rights and
nelp us enlorce tirern.

notion Agatnsl Us

a) No one may bring an cotton against us to
anyway rotated ic lirc existence or
amount of coverage or the amount ot loss
for which coverage is sought unless there
nas noon lull connr§lnrrcc with atl ooz§cy

_ temts.

trt tile one may bring an action against us in
any way related to the existence or
amount ot coverage or tire amount of ms
lor which coverage rs soughl, under
Coverano it -Llahltttv Proter:lion, unless
tire obiigaticn ot an insured person to pay
has been linaliy determined either by
judgment against tire insured person
eller actual triel. or by written agreement
ol tire insured person injured person and
us, and the action against us is
commenced within one year cl such
iudornent or agreement.

cl No one may bring an action against ns in
any way related in tire existence or
amount ot coveragel or tire amount ot loss
lor which coverage is souo|n, under

hoc 26

 

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Cevorapo \’ ~Fremises triadlcal
Proiecilon, unless such action is
commenced within one yearaitcr the dale
tito expenses ior which coverage is
sought were actuaiiy incurreri.

di No one may bring an action against us in
any way related to the existence or
amount of coverage urine amount oi loss
ior which coverage is songbt. under
Sactlon il-Mcllilonai Proleoilon. untess
each action is commenced within one
year aiter the date the claim expenses or
emergency first aid expenses ior which
coverage le sought were actually incurroo.

o) ito one strait §rave any right to make vs a
party le an action to determine the liability
of an insured person

B. Oiher insurance-Coverapo X - fictitiin
Protociton
This insurance is excess over any piher valid
and coilectioie insurance except insurance
thai is written spor:iircai|y as excess over
the limits ci liability that apply to this ooiicy.

SECTlUN HI ~ UP'HDNAL PHUTE€TIUN

optional Eoversges Yorr riley Btry

Tha loliowiop optional coverages may suppierneni
coverages tour-rd in Section |or section ii and
eppty only when they aro indicated on the Poiicy
Deciarallons. lite provisions ot this policy apply to
each Opiiooa| Coverage inthis section unless
mooiiieo by the terms of tie specific optional
Covorago.

‘i. Coveraoo BC
Bulldlno carlos
We will pay up to iii% ortho amount of
insurance on the Policy Deciarations under
coverage A»~Bweiliog Proteetlou to comply
with |ocai building codes aiier covered loss to
your dwelling orwhen repair or replacement
results in increased cost due to the
enior‘cemont ot any building conas, ordinances
or laws regulating the construction

reconstructionl maintenance repair or
conviction et your totallingl

novarage f

Fire oep\nmeoi charges

The 3500 limit applying to tho tire department
service charges under Seciion l Azlriitlorrai
Pro|ociion is increased to tire amount shown
on lisa Poiioy Declamtr`ono.

coverage §
Loss assessments
lt your ownership ot your awaiting requires
that you be a member oi, and sul)iect to tire
rules ol. an association governing areas haul in
common by aii building corners as members or
tha association we wiii pay your share pt any
special assessment charged against ali
building owners by tila association op to the
limit Ol Liabiiliy shown on the Polir.y
Dcclarations. when the assessment is made as
a resr;it oi:
ai attrition and accidental direct physical
loss tc the property held in common
by air buiirting owners caused try a
loss we cover under Sei:lion lot this
policy; or
bi bodily injury or property damage covered
under Seciion || ot this policy.

liowever, this optional coverage shall apply
enlth special assessments maria as a result
ot covered losses occurring white this optional
coverage is in iorce.

Any reduction or elimination ot payments for
losses because of any deductible applying to
tire insurance coverage ol the association of
building owners collectively is not covered
under this protection

irl-le wl ii pay only when the assessment levied
against too insured personl ss a result pt any
one ioss, ioi' bodily injury or property damage
exceeds 3500 and then on|yiortho amount ot
such excess this coverage is not subject to
any tlcdoctit)ie applying to Sor:t|on lot this
policy

Paoa 27

 

ln the event ul an assessment this covaiage is
subject 10 all lhe exclusion$ applicable to

Secllons l aan ll al this policy and the Secilnn
land il Condillnns. except as c)lharwlse no|ed.

This coverage is excess over any insurance
collectible under any policy ar policies
covering lhe association u§ building owners

Cuveraga SD

Salel|lle nish Nilennas

coverage G -Pnrsunnl Proparly Pralel:llon ls
exlended in pay for sudden and accidental
direcz physirai loss to yarn sale|liln dish
antennas and lheiz sysiems un your residence
nrsmlses, sublecl m lim piovisions of
Cnverage B - Fe;sonal Propeny Pwlecllon.
The amount al coveiage is shown on §iie P:)licy
Wclaral|or;s,

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PolicyEodoreemerrt

fire ioriowrrrg endorsement arranges your poltay. Pr'ease read this document carefully and keep rt
julie your policy

mls £no’orsrrmani' manges tro ur Polir:y- troop ll twin Yoor Poiicy

STANDARD FtRE PUL|CY PHDV!S|UNS ~»euzrr-z

this term contains the provisions ot inc Stanriard Fire Poiicy. Wireneverllro terms and provisions ot
Sccliolr loan be construed to per!nrrn a tmeraliration of tire nroursions iound in the Sranrlard Firo
Pnlicy. the terms and provisions ol Set:iion § shall apply

in noasiderattnn ol tire Provir.lons and Stirrulallons Heruln or riddell l~lorein anri ot the Premlum
Suer:ilied in lite nealaralions (or specified in endorsement attached itioreto), iil|state‘ !or the term
shown in the Deciaraiiuns irons inception rtaie shown ill ihs Doclarairons until cancelled or
expiration at location ot oroporty involved to an amount nol exceedier the limit ot |Eabiity specified
does insure tire insured named tn fire t.leniarattons and regal rcprr:sr\.ntai§vos. to the extent oi the
actual cash value ot the property at the time ot loose but not exceeding tila amount which it wot)tri cost
to repair or repiace ilirr properly with material of like kind and quality within a reasonabie time after
such loss, without allowance ot any increased cost ot repair or reconstruction by reason ot any
rudinance or law regulating construction or repair, and without compensation for loss resulting irorn
interruption cl business or mantltar.ture, nor in any event lr>r more titan the interest ol the insuredl
against oil DlFiECt' LOSS BY i"tRE, l,lGriTr»lti\lG ANiJ O'P.iER PER|LS |i~lSLtRED AGAlNST ibt THFS POLSCY
iNCLUD|NC-. REMOVAL FRUM PREM|SE§`> §NDANGERE() BYTHE ?ERtLS tNSilREIJ AGA!NST tN TH|S
PGLICY. EXCEI"£` AS l'lEltE|NAFTElt PRGV£DE D, to tile property described heroin while located or
Coflloill<ifl 35 demide in this trinity 0! pro rain for live days at each proper place to which any ot tire
property shall necessarily he removed ior preservation tromthe portis insured against in this policy out
riot e sewltero.

hsaignment of this policy shall not be vaiid except with the written consent ot Alirrtaier
liris outlay is made and accepted sub|ect to the iorogoing provisions ann stipulations and those

hereinafter statedl which are hereby marie a part of this policy together with such other provisions.
stipulations and agreements as troy he added hereto as provided in this policy

Parra 1

 

 

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tlonceelnteoi. this entire policy shal§ be void |l, whether
fraud. below or alter s loss, the insured luis wil-
tuily concealed or misrepresented any true
ler|at loci or circumstance concerning this insurance or the
SilliiECl illei'ool` er lite interest el the insured therein or in case
ot any trend or iaise swearing by the insured relating therein
tinlnsurabte this policy shott not cover accounts hitls.
and currency deerls,evidertces ol detri. ntortey or
excepted property securities nor, unless specilieal|y named
hereon in writtng, bullion or manuscrlpts.
Perits not Thls l;orapany shah not he liable ior loss by
included. tire or other portis insured against in this
policy caused directty or indirectly by: let
enemy attach by airport lorces, includan action taken by rnii§~
tary. nevai or air forces in resisting an actual or an intmedratety
impending enemy attack Gt} invosion; (c) insurrection; (d)
rebeltinn; (ei revotuiion; (i) civil war; {g) usurped power; (n)
order di any civil authority except acts oi destruction st lite time
oi and lot the purpose ot preventing the spread ot lite, provided
that such tire did not originate horn any of the perils excluded
by this policy; (t] neglect ol the insured lo use all reasonable
means id save and preserve the property til and after a loss, or
when the property is endangered by tlre in neighboring prem-
ises; (t} nor shell this Company be liable lot loss by itutit.
Dllierinstrrance fitner insurance may l)e prohibited or the
amount ot insurance may be limited by en-
dorsement attached hereto
Bonciiilons suspending or restricting insurance lintoss
otherwise provided in writing added herein this Compahy
shall not heiialtte for loss occurring
(a} white the hazard is increased by any means within the con
trol or knowledge ot the insurcd; or
lb) while a described i)uildinp. whether intended for occupancy
i)y owner or tenant is vacant or unoccupied beyond n period of
sixty consecutive days; or
till as a result ct explosion cr riot, unless tire ensuo, and lo
that event ior loss ny tire only
Dthor perils Any other peril to he insured against or sub~
ursubiects. tent ot insurance to he covered in this policy
shell be try endorsement in writing hereon or
added hereto
Adtiedprovisinne. The extent ot the application ot insurance
under this policy and ot the contribution lo
he made by this Company in case oi loss. and any other pro'
vision or agreement not inconsistent with the provisions ol this
policy, may he provided ior in writing added hornto. but no crow
vision otey be waived except such as try the terms el this policy

is subteel to change
Waiver rio permission attesting this insurance shall
provtstt.irtsl existl or waiver ol any provision he val|d.

Feue 2

 

 

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rrniess granted herein or expressed in writing
added heroin ito provision stigutstinn nr indenture shall no
heid to bn waived by any requirement or proceeding orr the part
oi this Bompany releiing to appraisal or to any examination
provided ior herein
Cannofi:rrl|orl This policy shali be correction at any time
ot potloy, at tire request ot tire lnsined, in which case
this tlnmpany strati. upon demand and sur~
render of this policyt rotund tire excess nl pain premium above
the customary short rates for tire expired iime. itrls pol-
icy may ne cancelled at any time by this Gnrnpeny by giving
to the insured a live days' written notice ot cencciloilon with
or without tender ot the excess oi paid premium above tire pro
rata premium lot the expired tirne. which excess il not ien»
derect, shall he refunded orr demand hiotlco ot cancellation shall
state that said excess premium (li not tendered) witt he re-
lunded orr demand

Moxtgann ii loss hereenrter is made pa_r,'ablo1 in witnie
interests and itt itt bath to a designated mortgagee not
obligations named heroin as the insured such interest in

this policy may be conceded try giving iosuolr
mortgagee a ten days' written notice ot can~
recitation
il mo insured tolls to render omni oi loss soon mortgageel upon
notionl strait render ornol of loss in the tenn herein specified
within sixty (69) days thereafter and shall be subject retire pro
visions hereof relating in appraisal and time of payment end ot
bringing suii. it this Cnmpnny shat£ claim that no liability ex-
isted ns to tire mortgagor or owner. ii shall. to the extend of pay-
ment ot loss to lite rriorigegoel be subrogated to atl the mort»
oagae`s rights ot reoovery, but without impairing mortgagees
right to sue; or it may pay oil the mortgage debt and require
an assignment ihsreol and nl tire mortgage Otirer provisions
relating to tire interests ann obilgatiorrs ol such mortgagee may
be added hereto by agreement ln writtng.
l"rorata ilability` Tiris Compnny strait not he liable for n greater
proportion ot atty loss than tire amount
hereby insured shall bear to tire whole insurance covering tire
property against inn petit involved whether colisctib|e or not
Resrniramentsin the insured shall give immediate written
sessions oosorz. notice to this Cnmpany st any loss protest
the property imm hether damage torthwith
separate the damaged and undeniade personal property, put
it in tire best possibte order, furnish a complete inventory ot
the destroyed damaged end undamaged property, showing in
detaii quantitiesl costs. actual cash value end amount et ioss
otalrnnct; and within sixty days alter the loss. unless sush lime
is wounded in writing he this Crrmpnrry. tire insured shell render
in this Company a moot ot loss, signed and sworn to by the

100 lnsnred. stating the knowledge and ballot of tire insured as to
101 the following: the time and origin el the loss the interest of the

Pago 3

 

 

Case 2:17-cv-00127-Sl\/|V-LAl\/| Document 1-1 Filed 01/26/17 Page 49 01 64

102 insured and el all others in the properly the actual cash vaiue of < t
103 each item thereat and the amount ot loss titeralo, att annum-
194 brancns thereon atl other contracts at insurance whether vaitd
ttJE or not, covering any ot said propertv. any changes in the titte,
105 use, occupation location possession or exposures ol said prop-
10? eriy since the issuing ot this peiir:y, try whom and for what
155 purpose any t)ns'idinp herein described and the several parts
109 lhereol wore occupied at the time ot loss and whether or not il
110 than slood on leased ground and shall iurnish a copy ot ali the
111 descriptions and schedules in all policies and, ii reauired. omitted
i12 pians and speciticaiions 01 any buildingl fixtures or machinery
113 destroyed or dar)ragcd, `ihe insuredl as otten as may he reason-
11¢1 ably required shall exhibit to any person designated try this
115 Cempany all that remains pt any property hewitt described and
116 submit to examinations under oath by any person named by this
i17 Cornpany, and subscribe the same: and, an often as rhay he
118 reasonably requiredl st:atl produce for examination att books ot
119 account biiis, invoices and other uour;hars. or certified copies
1213 thereof tr originals be insi. al such reasonable lime and piar:e as
121 may he designated by this Cornpany or its representative and
t22 shali permit extracts and copies tliereoi to bo rnnde.

123 appraisai, in nose lite insured and this Company shali
1211 tall to agree as to the actual cash value ol
125 the amount ot loss. then, on tile written demand ol eititer, each
126 ehail eeiact a competent and disinterested appraiser and notify
127 the other of the appraiser selected within twenty days of seen
128 demand the appraisers shall li;et select a competent and dle~
129 interested uniplre; and tolling ior lifteen days to agree upon
130 noon umpire llren, on request ot the insured or this Cornpany.
131 such umpire shall he selected by a judge nf n court 01 record in
132 the state in willett the property covered is located The ap-
133 nraieers shall then appraise the ioss, stating separately actual
134 cash value and loss lo each ilern: and, taiiinp to agree strait
135 eulm'rit their difierences, only, la the umpire. nn award in writ-
135 ino, so itemized o! any two when tiled with this Eornnany shall
137 determine the amount el actuai cash vaine and ioss. Each
138 appraiser ehali be paid ny the party selecting him and the ex-
139 penees ot appraisal and umpire shali be paid by the parties
140 euoa|lv.

1111 L‘.ompanre tt shall ha opiionei with this Cnn\pany to
142 npfir)ns. take all, or any pari, 01 the property at the
143 agreed or appraised value, and aiso to re»

144 pair, rehoitd ar reptaoa the property destroyed or damaged with
145 other ot like kind and anality within a feasonabie time on piv-
146 ing notice of its intention so to do within thirty days alter the
14? receipt of the proof of toes heroin required

148 abandonmentk There can be no abandonment to this Corn-

149 party of any proparty.

150 When loss lite amount oi tose for which this Company
i51 payable may he liable shall he payable sixty days
152 aitez proof el loss. as herein provided le

Paae 4

 

Case 2:17-cv-00127-SI\/|V-LAI\/| Document 1-1 Filed 01/26/17 Page 50 of 64

153 received by this Gorzrpar\y and ascertainment ul the foss is made
15'1 either by agreement between tile insured and this Company ex'
155 pressed in writing or by the tl|ing witte this Gompany al an
156 award as herein provided

‘ES? Su|t. tito suit or action on this valley lot tire memo
153 ery 01 any claim shall l)o sustainable in any
159 court ut law or equity untess all the requirements 01 this policy
150 strait have been complied with. aan unions commenced withln
161 twelve months next ritter inception ot the loss

162 Suhrngatian. Thts Compan_v may require trom the insured
163 an assignment nl all right nl recovery against
164 any pzrty for foss to the extend that payment lhorelur is made
165 byttzis Company.

SPE$|AL S'EAT£ PRD\HS!UNS
fDAHD: Tno word “ five' in line 62 ot the provisions hornina!ter is changed to ’ tizir|y"
OH£GGN.' the word ‘tlve' m linn 52 nl the provisions hereinafter is changed to ` thirty . Ttre words
‘Sixry days after tire |r)ss‘ in lino 97 ul the provisions nereinalter are changed to” ninety
days altorrecetpt ot proof ot loss forms lrom the t“.ompany‘.

_Pages

 

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‘J"e:ztpe C‘on t ra l P.'.‘operty

@AHSTET 222 3. ttrt,r;, Auu. sets 50;
emma 113 35sz

Vot.t‘re in good hands.

ltrl'''|tl'li""n“lt"tirlnill''it''ir"l~tt\il't"l'il“"ll
DONNY HERNANDEZ

PU BOX 920554

EL- PASO TX 799020012

February 24, 2015

INSURED: DONNY HERNANDEZ PHONE NUMBER: 890~639-7304
DA'I`E OF LOSS: January 0[, 2015 FAX NUMBER; 866-361~2934
CLAIM NUMBER: 0356?43260 SCO OPFICE HGURS: Mon - F:'l RiGG am - 4:3ii pm

Deat MR. DONNY HERNANDEZ,
‘I`iiank you for reporting the above referenced claim to the ALLSTATE INSURANCB COMPANY.
Based on the information obtaineé, we are sorry to inform you that your claim is not covered under your policy

Unt"ortunately, your claim falls within fine provisions ofyour A|lstate Landlord Pactcagc Poiicy as stated below in part.
Potioy Form ASS<$ under Scciion f - Yoor Propeny states:

Lr)s.:te.s‘ We Do Not Cover Uncler Coverage.r= A and B:

A. Wn do not cover loss to the property described fn Coverage /l Dwelllng Protection or Cnverage B Otlier Strnctnre.t
Protectlutt consisting ctfar caused by,‘

l 3. n) _ 'Weat' unit téan aglng, manning scratclu'ng, deterioration inherent vicel or latent dqfect;

b) Mecltant`cal bt'realcdawn,'

c) Growtl: of tt'ees, shrub.s‘, plants or lawan whether or notsuch growth is above or below the surface of
the ground,'

afl Ru.rt or other corrosion,' `

e) C.`ontantt`natt'on. r'tn:l'ucz't`ngl but not limited to1 the presence oftoxtc, noxioits. or hazardous gaston
chenn'cal.s', ltqrit'd.r. solids or other substances at the residence premises or in the ait', land or water
serving the residence pmmt’ses.'

jj .S’:nog. smoke j'i‘om the manufacturing of any controlled substance. agricultural smudging and
industrial operatinns,'

gt Settling. cracking shrinking bulging or expansion ofpnvement.r, patios, foundutt'on.s: walls, floot'.t,
roajlv or cellings.'

h) lnsects, rodent.s‘, birds ar domestic animal.s', We do cover the breakage ofglass or safety glazing
materials caused by blrds,' or

ij Set`zure by government authority

lj"any ofa,t through lt) causel the sudden and accidental escape of water or steamj$'om a plumbing heating or air
conditioning system household appliance orfn~e protective sprinkler ¢y.s'tem within your a*u)elt‘ing,'l we cover the direct
phy:rr‘cul damage caused by the water or steam iff/oss to covered property r`s caused by water or steam not otherwise
excluded we will cover tth cost of tearing out and replacing any part quonr dwelling necessary to repair the syste m or
appliance Tln's does nut include damage to the defective system or appliance from which the water escaped

19. Any act ofa tenant or guests afa tenant unless the act results in sudden and accidental direct plw.tical loss caused by.‘
a);?re.'

03 56743260 SCO

 

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b) explaslon,'

cl t>elticles,‘

d) smoke Hawever. we do not cover loss caused by smokcji'om the manufacturing of controlled
substances agricultural smua'ging ar industrial operations

e,) increase or decrease of artificially generated electrical current to electrical appliances fixtures and
wiring.'

jj bulging, burning cracking or rupture of a steam or hat water heating system. an air conditioning
system an automatic fire protection system ar an appliance for heating water;

g} water or steam that escapes, due ta accidental discharge or overp?ow¢ _t?'otn a tn'tnnl)in¢r;l heating ar air
conditioning systern. an autonratt'cj?re protection system, or a household appliancc; or .

h)ji'eezlng ala plumbing heating or air conditioning system or a household appliancc.

Specifrcal|y, tim following facts are the basis for this coverage dccisi<m.'

'l`hc damages presented to us during our inspection on February 17, Z(llS were the result ol` wear and tear, deterioration,
domestic animals and the act afa tenant. As quoted in part above, your policy excludes coverage for damages that arc
caused by domestic animais, an act of a tcnant, wear and tear and deterioration 'l`hcrcl`ore, your claim for the damach
presented during our inspection arc not covered under your policy.

We’re Herc to Hc.lp You
Shou[d you have any additional information you wish for ustc consider or ifyou wish to discuss any aspect ofthis cuse,
including this leilor, please do not hesitate lo contact us. My cell phone number is 505.68 l ,3926.

Sincerefy,

moore Cow.')voa

CAREY 0 CONNGR
800»639-7304 Ext. 1988526
Allstrrte lndamnity Company

centum 0356743260 SCO

 

 

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DONA ANA COUNTY §\
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12/19/2016 1:51:26F
CLAUDE BOWMJ
\/ictor Er

STATE OF NE`W MEXICO
COUN'I`Y ()F DGNA ANA
'I`HIRD JUDICIAL DISTRICT COURT

Donny Hernandez,

mining

Vs.

D-.'l{l’F-CV»ZOI 6~02766
.§udgc Manue| l.. Arrieta
Ailsrate Insurancc Cornpany,

I)ei`elldant.

ORI)ER REQUIR`ING SCHEI)ULING REPOR'I_`S
and a I)ISCOVERY PLAN, EXPERT WITNESS DISCLOSURE,
and LIM lTING STIPULATIONS '!.`O ENLARGE TIME
FOR RESPONSIVE PLEAI)INGS

IT IS S() ORDERED:

A. Plaintifi" shall serve a copy ol`this order on each defendant with the summons and complaint and
file a ceitificatc of such service Parties other than plaintiffs who assert claims against o€hei's who
have not been served with §§iis order shall serve a copy of this order on i'hosc against whom they
assert claims with the pleading asserting such claims and shall file a certificate of such service

B. Within sixty {60) days after the complaint is filcd, parties of record shall file c Scheduling Reporl
(LRB~SOZ) With copies 10 opposing parties and the assigned judge Parties shall confer and are
encouraged to file a Joim. Scheduling Repori, LR3-Fonn 2.]2 NMRA for Ti'ack A or LR3-Foi':ii
2.l3 for Traclc_s B and C (see Appendix to ike Lcca.l Ruiesfor alffci'i)is), o:', if lhcy cannot agrec,
file an individual Scheciuling Report, LR$-Form 2. 13 NMRA.

C. Any paiiy who enters she case more than sixty (60) days after the filing of the initial pleading

shall fife a Scheduling lieport within ten (10) days and deliver a copy to the assigned _§odge.

 

 

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F.

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If ail parties are not of record within sixty (60) days after the iiiing date of the initial pleading
each party making a claim against one or more absent parties {P!at'iiti{i`jbi' Defe:m’ont.t, T}n`rci-
Pmty P!ai`nfg']f“fsj<`)r Tln'rd-Pm'n) Defeadwits', efc.) shall, within five (5} business days after the (il)"`
day, file with the couit, serve parties of record and deliver a copy to the assigned judge, a written
explanation following LR3-Forin 2.14 NMRA, “Deiay in Putling the Case at Issue".

Counscl or parties who do not have attorneys may not stipulate to an enlargement of` time greater
than fourteen {14) days for the filing of a responsive pleading without a motion and oi'det‘. Thc
motion shall state With particularity the reason an eniargenient is in the best interests of the
parties A copy of the motion and stipulation shall be delivered to all parties as well as counsel
The enlargement requested shali be for a specified time

When ali parties have been joined and the case is at issue, the parties shall iimnediateiy notify in
writing the assigned judge and thc alternative dispute resolution coordinator.

If appropriate the court will refer this matter to settlement facilitation under Patt VII of the Loca§
Rules of the Tltird indicial Distriet Conn.

For cases subject to arbitration under Local Rule LR3-706 NMRA, the parties may file a written
stipulation to waive facilitation with a copy to the ADR coordinator and the assigned judge within
sixty (60) days after the initial complaint has been fitted or ten {IU) days after all parties are joined
if LR?~Fortn 2.]4 NMRA has been filed li` the parties cannot stipulate the party seeking waiver
of facilitation may tile a motion for relief from facilitation

Wi_tl:iin seventy-five (75) days from the date the compiaint was tilcd, or fifteen (15) days after the
case is at issue ilei`tB~Porm 2.14 NMRA has been filed, the parties shall either:

(1} stipuiate to a discovery plan and file the stipulation with the court, or

(2) requests hearing to establish a discovery plan pursuant to Paragraph B of

Rute l-Oi6 NMRA.

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(3)

lo the absence of a stipulated discovery plan or a timely :‘equest from a party for a

hearing to establish a discovery plan, the following plan shall go into effect:

Within

one hundred (EUO) days after the complaint was filed or fifteen (15) days after a

party has entered the suit, whichever is the later datc, each party shall provide to all other

parties:

R.

'l`he name and, if known, the address and telephone z‘\uniber o§` each individual
iike|y to have discoverable infonnatiou relevant to disputed issues raised by the
_pieadings, identifying the subjects oi` the information;

A copy ef, or a description by category and location ot`, ali documents data

eoinpiiations, and tangibie things in the possession, custody, or controi of the

_ party that are i'elevant to disputed issues raised by the pleadings;

A computation of any category of damages claimed by the disclosing party,
providing copies or making available for inspection and copying the documents
or other evidentiary materials and medical records and opinions not privileged or
protected from disclosure on which such computation is based, including
materials bearing on the nature and extent of injuries suffc:‘cd;

For inspection and copying any insurance agreement under which any person

carrying on an insurance business may be liable to satisfy part or all of a ‘

judgment which may be entered in the action or to indemnify or reimburse for
payments made to satisfy the judgment

lt the medical condition of a party is at issue, such party shal§ give a medical
release authorization to opposing parties The parties shall confer regarding the
nature and extent of the release and stipulate if possible lt" the parties cannot
agree, each party shail tile a memorandum with a proposed medical release

authorization advocating that party’s proposed form to the court A copy of the

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K.

memorandum and proposed foim shali be delivered to the assigned judge Ru}e
i-OO7.1 NMRA shall epp!y.
Pnrsuzint to Rele §~OZE)(E) NMRA, parties shall reasonany supplement discovery required in
Subparagrap]_is (3)(e) through (e) ofParagraph 1 of this (}rder_
Intent to Cail Expert Witness » Disciosure. No later then sixty (60) days after filing their
respective complaint or responsive pleading5 ali })aities sheii exehangc a “Not'ice oi` intent to Celf
Expen Witness (es}". Tiie parties spirit list the names, addresses and phone numbers t`nr atl
anticipated expei'rs, including a brief summary of tire subject matter of each witness’ testimonyl
lf an expert has not yet been identified by a perty, the parties must list the specialized area(s) in
which an expert is anticipated te be retained and a brief summary of the areas er issues on which
the expert is expected to testify on. Alt parties are to observe their continuing duty to timer
supptement discovez'y and shall further abide by the requirements ei` section 8 (A~E) of the

0'?/15/2014 attachment to tire scheduling order filed, With respect to each expert listed,

if n “` /';r`/;-
e%e/F~:i»;p {e”'sfi"-M

 

 

H`on. Manuel I Arrieta, District Cr)uit lodge

Delivered to Piaintift`on: Decernber 19, 2016.

Ciaude Bowman
Clerlc cf Ceurt

 
 

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iii 7 T seq . d . .M.i
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' waismz:ez’=“`

 

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i:)oNA _ANA county NM§
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CLAUDE'BOVW|AN
Denika Frank
STATE OF NEW MEXICO
COUNTY OF DONA ANA
THIRD JUD]CIAL DlSTRIC'I` COURT
DONNY HERNANDEZ
P]aintift" '~ _
v. No. D»BO?'CV-ZOté-GZ'F(\G
ALLSTATE INSURANCE COWANY
I`.Jefendant
TIIE STATE ()F NEVV MEXICD
TO: ' l Ailstate Insurance Comptlny, Det`endant, by serving any officer ofthe Residual . t ' ‘ '-" ' i

Markets Unit j
ADDRESS: 30'}5 Sanders Roed, Sui.te HZD, Northbrook, il 6(}()62~3075. ' "

You are required to serve upon Robert A. Skipwortii, Att.orney for Plaintif"f, an answer or
motion in response to the eompiaint which is attached to this summons within thirty (30) days
after service of this summons upon you, exclusive of the day of service, and tile a copy of your
answer or motion with the court as provided in Rule 1-005 NMRAt

If you fail to tile a timely answer or motion, default judgment may he entered against you
for the relief demanded in the complaint

Attorney or attorneys for Piaintii’f; Robert A.. Skipworth '
Address and phone number of attorney 310 N. Mesa, Ste 600, EI Paso, TX 79901 _
(915) 533-0096 _

WITN ESS' the Honorab`ie Mannei I. Arrieta, District lodge of the 'Third Jndicial District
Court of the St'ete of New Me'xico, and seal of the Distn'ct Court ofDone Ana County, New
Mexico this 16th day of December , 20]6.

Claude Bowman
Clerk of the Court

 

I)eput.y

:`,

 

 

 

 

 

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TH"E STATE OF ;W ME ICO
COUN']`Y OF i-UA 1

I, being duly sworn, on oat.h, state that l am over the age of eighteen (18) years and ncta
pattyg;j) this lawsuit, and that I served this summons in Dona Ana County, New Mexico on the

day of j:‘q;.@,,¢,,t;£¢, , 201¥ by delivering a copy of this summons, with a
copy ot` the complaint attach’ed, in the following manner:

(cbeck one box and fill in appropriate bianks)

[ ] to the dcfend.ant,

 

[ j to the defendant by [mail] [courier service] as provided by Rule 1»004 NMRA.

After attempting to serve the summons and complaint on the defendant by personal service or by
mail or commercial courier service, by delivering a copy ofthis summons, with a copy of
complaint attached lathe following manner:

f ] to ' ` ' , a person over fifteen (l$) years
ofage and residing at the usual place ot` abode of defendant, ,
and/or by mailing by first class mail to the defendant at

, a copy of the summons and complaint

 

 

 

§ ] to ' ' n , the person apparently in charge al
the actual place of business or employment of the defendant and by mailing to the
defendant at - and by mailing the

 

summons and complaint by first class mail to the defendant at

]>q/ to / / 1175 n , , an agentauthorized to receive 7(
service ofprocess for defendant é/Lr_/zé =§s¢@££er ('Q$£A§g; &';¢Jaa{ £/A¢épy[£a ,

[ ] l \' to , fparent] [guardian] [custodian]
[guardian ad liteni] of defendant

 

 

 

 

 

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Subscribed and sworn to before me this
1’)*" day or

 

 

 

 

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DONA ANA COUNTY NM

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1/18/2017 4:39:24 PM

CLAUDE BOWMAN

Denika Frank

 

`STATE <)F NEW MEXICO
CGUNTY 013 BONA ANA
umw JUI)IClAL mmch COURT

DONNY HERNNANDEZ, CGUSE NO. [)~EDT-CV-2016~02766
Plain!ii`f, '

VS.

ALIA.STA'I`E INSURANCE COMPANY,
Dcfendant,

CERTIFICATE OF` MAILU\TG _W~ l_' '

l, hereby cenify that on this 24TH day of DECEMBER 2016, a true and correct copy of
the SUMMONS, PLAB\ITIFF’S ORIGINAL COMPLAIN’I` and ORDER REQUIRING
SCHEDULING REPORTS AND A DISCOVERY PLAN, EXPERT WITNESS DISCLOSURE,
AND LIM}TING ST]PULATIONS TO ENLARGE TlME FOR RESPONSIVE PLEADINGS §
was mailed m the defendam ALLSTATE INSURANCE COMPANY, by serving any umw mm '
Residuaf Marke:s Unic, by C.ertifzed Mail, Retum Receipt, via the U.S. Postai Service, postage
pre~paid sufficient to carry it to its destination properly addressed to the following

 

ALLSTATB INSURANCE COMPANY,
Attn: by serving any Ofiiccr of the
Residual Markets Unit,

30? 5 Sanders Road, Suite # HZD,
Northbrook, IL. 60962-3075

By: l _
DAV:D"S. TARANGO

PO BOX 954

MESILLA PARK, NM. 8204?
PRIVATE PROCESS SERVBR
(5?5) 523»9398

 

 

;(“,\ l.'

'ég§BED and sWORN m before me this 17“‘ day of JAmJARY, 2017,

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My Commission Expires

 
   

Notary Public

 

 

 

 

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Case 2:17-cv-00127-SI\/|V-LAI\/| Document 1-1 Filed 01/26/17

    
 
 

 

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t Comp§ete items 1. 2, and 3.

l Frint your name and address on me reverse
so that we Can return me card to you.

x Attach this card le the back of the maiipiece.
or on the front lt space permits,

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A. Signa¥ure_ _ `
' '. 5. 1.'1`.-“1:! Agent

x }.j . ~CJ Addrassee
E. Hecaived by (P.rs'nfed Name) C. Date of Eelivery

 

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U. Is deliver adams dine!a`nt from liv=.w'n 1? 51 \’es
if YES, umw delivery address balnw: L‘J Nc;

 

 

 

 

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Case 2:17-cv-00127-SI\/|V-LAI\/| Document 1-1

`,CT Corp{)rati@n

Filed 01/26/17 Page 62 oi 64

Service of Process
Transmittai
01/17/2017

cr Log Number 530504570

TO: Shefby Fie[ds
Allstate |nsurance Company
MCO Office, 3600 NW 138th St., Ste. 200
Oklahoma City, OK 73134
RE: Process Served in New Mexico
FOR:

Al[state |nsurance Company (Dornestic State: IL}

ENCLOSED ARE COFIES OF LEGAL PROCESS DIRECTEI'J TO CT BY THE ABOVE CDMPANY AS F£)L.LDWS:

TlTl..£ OF ACTION:
DOCUMENT(S) SERVEB:

COURT.'AGENCY:

NATURE OF AC'!'lON:
DATE ANb HOUR OF SERV'l CE

DATE AND METHOD DDCUMEN`!' WAS
DEI..IVERED 'i'O CT:

JUR|SD|CTION SERVED:
APPEARANCE OR ANSWER DUE_'

AT'E'ORNEY(S] ISENDER(S):

ACT|DN lTEMS:

CT CONT`ACT lNFO:

Donny Hernandez, Pltf. vs. Allstate Insurance Company, th.
Summons, Complaint, Exhibit(s)

Dona ana Cuunty - Third Judicial District Cnurt, NM
Case # D3U7CV201602766

|nsurance Litigation

By Electronic Receipt on 01/17/2017 at 11:15 Uploaded by Aspen Sprague at Allstate
lnsurance Company; Confirmation# 88732

New Mexicn
Within 30 days after service, Exclusive of the day of service

Robert A. Sk;`pworth
310 N. Mesa

suite 600

El Paso, T)< 79901
915-533-0096

CT has retained the current log, Retain Date: 01!18/2017, Expected Purge Date:
01/23/2017

|mage SOP
Email Notification, Shelby Fields shelby.fields@allstate.com
Email Notification, Drew Schowengerdt drew.schowengerdt@alistate.com

EmailNotification, Milt Thulin Milt.Thulin@al£state.com

Global Processing Center
800»592-9023

Page10f1/CM

|nfprmation displayed on this transmittal is for C|'
Corporation's record keeping purposes only and is provided to
the recipient fur quick reference This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer daie, or any information
contained in the documents themselves Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents

CaSe 2:`17-Cv-00127-SI\/|V-LAI\/| Document 1-1 Filed 01/26/17 Page 63 oi 64

STA'I`E OF NEW MEXICO

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COUNTY oF ooNA ANA hines §`;NFT
THIRD JUDICIAL DISTRICT COURT ry »; l
d.;€-"a,l:lél l l r;i?;jij;
DONNY HERNANDEZ
Plaintiff
v. No. D-307-CV~2016-02766
ALLS'I`ATE INSURANCE COl\/IPANY
Defendant
THE STATE OF NEW MEXICO
TO: Allstate Insurance Company, Defendant, by Serving any officer oi` the Residuai

Markets Unit
ADDRESS: 3075 Sanders Road, Suite HZD, Northbrook, IL 60062-3075.

You are required to Seive upon Robelt A. Skipwortii, Attorney t`or Plaintiff, an answer or
motion in response to the complaint which is attached to this summons Within thirty (30) days
after service of this summons upon you, exclusive of the day of service, and file a copy of your
answer or motion With the court as provided in Ruie 1-005 NMRA.

It`you fail to tile a timely answer 01' motion, default judgment may be entered against you
for the relief demanded in the complaint

Attorney or attorneys for Plaintiff: Robert A. Sl<ipvvorth
Address and phone number of attorney: 310 N. Mcsa, Ste 60(), Ei Paso, TX 7990}
(915) 533-0096

WI'INESS the Honorable Manuel l, An'ieta, Districlt ludge of the Third Judicial District
Court of the Statc ofNeW Mexico, and Seai of the `District Coul't of Dona Ana County, Now
Mexico this 16th day of D@cember , 20l6.

C|aude Bowmen
Clerk of the Coul't

 

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